                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

XUEJUN ZOE MAKHSOUS                               )
                                                  )
                       Plaintiff,                 )
        v.                                        )
NICHOLAS A. MASTROIANNI II                        )
YING DING                                         )
RICHARD HADDAD                                    )
                                                  )
                 and                              )
                                                  )   Civil Action No.
US IMMIGRATION FUND, LLC, aka USIF,               )
a Delaware limited liability company;             )
US IMMIGRATION FUND-NY, LLC, aka the              )
Regional Center, a New York limited liability     )   TRIAL BY JURY DEMANDED
company; 701 TSQ1000 FUNDING, LLC, aka 701 )
Fund, a Delaware limited liability company; 701   )
TSQ 1000 FUNDING GP, LLC, aka 701 Manager )
a Delaware limited liability company; NYC 1000 )
INVESTMENT, LLC, aka 701 Fund Co-Manager, )
a Delaware limited liability company; 1568        )
BROADWAY FUNDING 100, LLC, aka 702 Fund,)
a Delaware limited liability company;1568         )
BROADWAY FUNDING 100 GP, LLC, aka 702 )
Fund Manager, a Delaware limited liability company)
AYB FUNDING 100, LLC, aka AYB II Fund,            )
a Delaware limited liability company;1568         )
AYB FUNDING 100 GP, LLC, aka AYB II               )
Fund Manager, a Delaware limited liability company)
NYC 2000 INVESTMENT, LLC, aka 702 Fund            )
Co-Manager, a Delaware limited liability company; )
CAPITAL 600 INVESTMENTS, LLC, aka Regional)
Center Co-Manager, a Florida limited Liability    )
company; QIAOWAI INTERNATIONALGROUP )
USA, LLC, 4552 Tuscany Dr. Plano, TX; QIAOWAI)
INTERNATIONAL HOLDING, LLC, a Delaware )
limited liability company; QIAOWAI GROUP          )
INTERNATIONAL TRAVELAGENCY                        )
HOLDINGS, INC., and with its Registered agent )
listed as Corporation Service Company, 251 Little )
Falls Dr. Wilmington, DE 19808;                   )

                     Defendants.



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AMENDED COMPLAINT PURSUANT TO RACKETEER INFLUENCED AND CORRUPT
                ORGANIZATIONS ACT AND OTHER CAUSES OF ACTION



       Plaintiff XUEJUN ZOE MAKHSOUS, Self-Represented, sues the Defendants, as individuals

operating a criminal enterprise, for conspiracy to commit tort and fraud. Defendants Nicolas

Mastroianni II ("Mastroianni") and Ding Ying (“Ding”), with companies under their control or

business partners and legal counsels, et al., through a conspiracy of tort, fraud and other predicate

criminal acts, are involved in colluding & converting illegally obtained funds as well as maliciously

prosecuting and defaming Plaintiff.

       Plaintiff is a trained Chinese/English interpreter/translator, a trained researcher/investigator,

and an EB-5 investor right activist. As early as Oct 1 2013, The U.S. Securities and Exchange

Commission's ("SEC") Office of Investor Education and Advocacy and U.S. Citizenship and

Immigration Services ("USCIS") issued a joint alert on investment scams targeting foreign nationals

who seek to become permanent lawful U.S. residents through the Immigrant Investor Program ("EB-

5"). In close coordination with USCIS, which administers the EB-5 program, the SEC has taken

emergency enforcement action to stop allegedly fraudulent securities offerings made through EB-5.

       The EB-5 program provides certain foreign investors who can demonstrate that their

investments are creating jobs in this country, with a potential avenue to lawful permanent residency

in the United States. Business owners apply to USCIS to be designated as "regional centers" for the

EB-5 program. These regional centers offer investment opportunities in "new commercial

enterprises" that may involve securities offerings. Through EB-5, a foreign investor who invests a

certain amount of money that is placed at risk, and creates or preserves a minimum number of jobs in

the United States, is eligible to apply for conditional lawful permanent residency. Toward the end of

the two- year period of conditional residency, the foreign investor is eligible to apply to have the



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conditions on their lawful permanent residency removed, if he or she can establish that the job creation

requirements have been met. Foreign investors who invest through EB-5, however, are not guaranteed

a visa or to become lawful permanent residents of the United States. The fact that a business is

designated as a regional center by USCIS does not mean that USCIS, the SEC, or any other

government agency has approved the investments offered by the business, or has otherwise expressed

a view on the quality of the investment. The SEC and USCIS are aware of attempts to misuse the EB-

5 program as a means to carry out fraudulent securities offerings. However, such alert was never sent

to EB-5 investors in China through US immigration attorneys or securities brokers. It is believed that

any negative news of EB-5 fraud and facts about bad actors like Defendant Mastroianni with his

bankruptcy record and lawsuits were removed from Chinese online search engines paid by EB-5

migration agencies like Defendant Ding and Qiaowai.

       Since August 2017, Plaintiff has been contacted by nearly 100 Chinese investors from EB-5

funds managed by Defendants for fraud analysis in the context of the EB-5 investment alert issued

by SEC in 2013. In August 2017 Plaintiff took an assignment to conduct fraud analysis for an investor

in 1568 Broadway Funding 100, LLC (“702 Fund”) that provides up to $350 million mezzanine loan

from up to 700 EB-5 investors to finance 1568 Broadway Development (“702 Project”) in New York.

Given the investment alert about EB-5 scams issued by SEC, Plaintiff believes EB-5 loan to 1568

Broadway Development is a classic example of EB-5 scams with its complicated organization

structure other than the fact that Defendant Mastroianni, with no certification and registration, has

$2.9 millions in about 20 EB-5 funds under his control. See Exhibit 1 and Exhibit 2. The offering

documents issued in 2016 provides that 702 Fund will provide $250 million by Threshold Date of

Mar 31, 2017 or Developers of 702 Project may seek alternative financing. In such case, 702 Fund




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may dissolve. See Exhibit 3. Under information and belief 702 Fund was not able to provide $250

million EB-5 financing by March 31, 2017,

       By end of 2017 702 Developers failed to meet the terms and secure construction loan from JP

Morgan due to insufficient equity. See Exhibit 4. 702 Developers devised a plan to relocate $200

million of EB-5 loan in 701 TSQ 1000 Funding, LLC (“701 Fund”) to make up the equity shortfall

for 702 Project. They initiated a buy-out of majority interest owner of 701 Time Square Edition Hotel

Development (“701 Project”) and took over the control of $200 million of EB-5 loan associated with

the project in about February 2018. Subsequently702 Developers conspired with some of Defendants

for a plan to make early repayment of EB-5 loan out of 701 Project on the condition that EB-5 loan

would be redeployed into 702 Project. On May 18 2018, Defendant 701 Fund and Manager sent a

letter to members of 701 Fund about early repayment and intent to redeployment without disclosing

the project of redeployment. See Exhibit 5. Between June and December 2018, 12 former members

of 701 Fund engaged Attorney Douglas Litowitz (“Litowitz”) to represent them in their demands for

return of their investment. Plaintiff was engaged indirectly as a translator and a fraud investigator to

work with Litowitz and was promised to be paid $10,000 per client for her service.

       Defendants Mastroianni, Ding colluded with their former hired-gun, securities attorney

Ronnie Fieldstone (“Fieldstone”) of Ernstein & Lehr LLP to devise a scheme to sabotage Litowitz’s

plan for legal action to enforce rescission rights due to Defendants 701 Fund’s misrepresentation.

The rescission rights will allow defrauded exiting investors to take back their investment in full

including $500,000 capital and administrative fee of $50,000 plus interests and cost. Under

information and belief, in May 2018, Defendant Ding and Qiaowai used an agent “Linda” to

infiltrated WeChat groups set up by members of 701 Fund to discredit Plaintiff and draw clients away

from Litowitz and Plaintiff. As result “Linda” assisted Fieldstone to sign up about 40 exiting




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members to be his clients in June 2018. See Exhibit 6. In contrast, Litowitz had about 12 clients

between June and October 2018. In July Defendants Mastroianni, Ding colluded with Fieldstone to

fix withdraw procedures and repayment amount for the exiting members of 701 Fund. Instead of full

return of investment of $550,000 plus interests and cost advocated by Litowitz, Defendants

Mastroianni, Ding colluded with Fieldstone to return only $500,000 of capital to exiting member with

release of all liabilities by Defendants. The exiting members of 701 Fund were coerced to accept the

terms set by Defendants and substantial loss without getting immigration visas after 3.5 years’

investment. Attorney Litowitz and hence Plaintiff were unable to collect their fees based on

contingency for management fee returned to exiting investors. Defendants Mastroianni and Ding’s

coercive action caused Plaintiff unable to collect her compensation.

       Between June and September 2018, together Litowtiz and Plaintiff were unwavering

advocates for rights of their exiting clients not to succumb to the tyranny of Defendant Mastroianni.

In view of success of Litowitz and Plaintiff, the social network circles the idea that from then on all

the investors in USIF's projects might retain Litowtiz and Plaintiff to represent them in defending

their rights against the deceit of Defendant Mastroianni. See Exhibit 7. Defendants Mastroianni and

Ding became panic at the success of Litowitz and Plaintiff and Defendants USIF, 701 Fund and 701

Manager filed a lawsuit against Litowitz and Plaintiff in New York County Supreme Court on Oct 4,

2018 (“New York Lawsuit”). This laughable, baseless lawsuit was thoroughly described in

Defendants’ Motion to Dismiss of the instant original complaint. The sole goal of Defendants’ lawsuit

was to humiliate and intimidate Litowitz and Plaintiff from defending rights of over 5,000 investors

in the EB-5 funds managed by Defendants. This malicious lawsuit was thrown out of court by a New

York Judge on March 29, 2018. See Exhibit 8. Humiliated by Plaintiff’s fierce defense and

Defendants’ defeat by Plaintiff even without her hiring a lawyer, Defendant Mastroianni and Richard




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Haddad, the attorney who represented Defendants in the New York Lawsuit started a campaign to

defame Plaintiff and called Plaintiff “ambulance chaser”. Defendants Mastroianni and 702 Fund

disseminated letters to members of 702 Fund and used the New York Lawsuit to legalize their

defamatory comments about Plaintiff. See Exhibit 9. On about April 9 Defendant Haddad sent an

agent to Chicago and contacted at least one acquaintance of Plaintiff to spread false information about

Plaintiff. Among other things, Plaintiff seeks damages in excess of $50,120,000, including but not

limited to, punitive damages, for these outrageous tort and fraud.



I.      JURISDICTION AND VENUE

1.      This is a civil action for violations of 18 U.S.C. § 1961 et seq. (“Racketeer Influenced and

Corrupt Organizations Act” or “RICO”). RICO addresses the corrupt abuse and misuse – usually

covertly – of organizations, entities, businesses, institutions or even governments or government

agencies, such that superficially legitimate entities actually operate for criminal purposes irrelevant

to the entity’s purpose.

2.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.

Jurisdiction is also proper pursuant to 18 U.S.C. § 1965, which allows for nationwide jurisdiction

pursuant to the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-

1968.

3.      This Court also has subject matter jurisdiction over this action based on diversity of citizenship

pursuant to 28 U.S.C. § 1332(a)(2).

4.      This Court has supplemental jurisdiction over this action pursuant to 28 U.S.C. § 1367.

5.      Plaintiff is a resident of Cook County. IL and this Court has jurisdiction.



II.     THE PARTIES


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6.    The Plaintiff Xuejun Zoe Makhsous ("Plaintiff' or "Zoe") is a self-employed translator,

      researcher, an EB-5 investor rights advocate and an independent paralegal in-training. Ma is

      a resident of Cook County, Illinois.

7.    Defendant Nicholas A. Mastroianni, II (“Mastroianni”), is a Florida resident and controls

      about 20 business entities that manage $2.9 billions of EB-5 investment from over 5,000

      investors.

8.    Defendant U.S. Immigration Fund, LLC, (“USIF”) is a Delaware limited liability company

      whose controlling principal is Nicholas Mastroianni, II.

9.    Defendant U.S. Immigration Fund – NY, LLC, (“USIF-NY” or the “Regional Center”) is a

      New York limited liability company, managed and controlled by Mastroianni.

10.   Defendant Capital 600 Investments, LLC (“Regional Center Co-Manager”), is a Florida

      Limited Liability Company whose principal place of business is located at 115 Front Street,

      Suite 300, Juniper, FL 33477, and is managed and controlled by Nicholas Mastroianni II.

11.   Defendant 701 TSQ 1000 Funding, LLC (“701 Fund” or “Company”), is a Delaware limited

      liability company (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

12.   Defendant 701 TSQ 1000 Funding GP, LLC, (“701 Manager”) is a Delaware limited liability

      company whose controlling principal is Nicholas Mastroianni, II.

13.   Defendant NYC 1000 Investment, LLC (“701 Fund Co-Manager”), is a Delaware limited

      liability company (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

14.   Defendant 1568 Broadway Funding 100, LLC (“702 Fund”), is a Delaware limited liability

      company (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

15.   Defendant 1568 Broadway Funding 100 GP, LLC, (“702 Manager”) is a Delaware limited

      liability company whose controlling principal is Nicholas Mastroianni, II.




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16.     Defendant NYC 2000 Investment, LLC (“702 Fund Co-Manager”), is a Delaware limited

       liability company (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

17.    Defendant AYB Funding 100, LLC (“AYBII Fund”), is a Delaware limited liability company

       (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

18.     Defendant AYB Funding 100 GP, LLC, (“AYBII Manager”) is a Delaware limited liability

       company whose controlling principal is Nicholas Mastroianni, II.

19.     Defendant NYC 400 Investment, LLC (“AYBII Fund Co-Manager”), is a Delaware limited

       liability company (“USIF”) whose controlling principal is Nicholas Mastroianni, II.

20.    Defendant Ying Ding (“Ding”), is a US permanent resident who resides at 4552 Tuscany Dr,

       Plano TX at least between 2011 and 2018.

21.    Defendant Qiaowai International Group USA LLC, with its office located at 4552 Tuscany Dr,

       Plano TX [at least between 2011 and 2018], is controlled by its principal Ding (“collectively

       call Qiaowai entities”).

22.    Defendant Qiaowai International Holding, LLC, with its registered agent as Corporation

       Service Company, located at 251 Little Falls Dr. Wilmington, DE 19808, and whose

       controlling principal is Ding (“collectively call Qiaowai entities”).

23.     Defendant Qiaowai Group International Travelling Agency Holdings, Inc. with its registered

       agent as Corporation Service Company at 251 Little Falls Dr. Wilmington, DE, 19808, and

       whose controlling principal is Ding (“collectively call Qiaowai entities”).

24.    Defendant Richard Haddad (“Haddad”) is a resident in the State of New York who works at

       230 Park Ave, New York, NY.



III.   FACTS COMMON TO ALL COUNTS




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                                       Plaintiff’s Background


25.   Plaintiff, previously a Citizen of China, is a professional translator graduated from the best

      university in Northeastern of China in 1991.

26.   Plaintiff received her Master’s in Sociology in 1996 and is a researcher by training. Since

      2014, Plaintiff devoted substantial time to conduct EB-5 fraud analysis. Plaintiff filed her

      first whistleblower report with SEC in late 2014 when eventually led to SEC to take

      enforcement action against an EB-5 regional center.

27.   Plaintiff received her Master’s in Business Administration in 2001 and has been involved in

      all aspects of real estate development since then, with focus in mortgages and real estate

      financing.

28.   Plaintiff was invited to join an EB-5 real estate development project in 2007 and after she

      discovered the practice of non-disclosure of investment risks to prospective EB-5 investors,

      Plaintiff left the EB-5 regional center sponsored project and started her own EB-5 investment

      funded senior care development in rural Wisconsin. Plaintiff is a self-taught EB-5 project

      developer and manages two mini EB-5 enterprises.

29.   Plaintiff is currently taking classes to become an independent paralegal.

30.   Ever since SEC and USCIS issued joint alert on EB-5 scams in October 2013, Plaintiff calls

      for full risk disclosures in EB-5 fund raising activities and advocates for protection of Chinese

      EB-5 investors under US securities law. Plaintiff is proficient with all legal documents related

      to EB-5 fund raising and provides US legal information to Chinese EB-5 investors as such

      information are not available in China and Chinese migration agencies pay Chinese internet

      search engines to block and delete negative information about EB-5 immigration programs.




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31.    Plaintiff was the first person to warn Chinese EB-5 investors of possible 10 years visa backlog

       as early as December 2015.

32.    Plaintiff is in contact with hundreds of Chinese EB-5 investors with their investment in EB-5

       enterprises sponsored by dozen of EB-5 regional centers all over the US.



                                 EB-5 Immigrant Investor Program


33.     A provision of the 1990 Immigration Reform Act permits foreigners to invest $500,000 (in

areas of high unemployment) to $1 million in businesses in the United States in return for permanent

residency status. The provision is intended to encourage foreign entrepreneurs to create a new

business or to save a troubled business with creation of 10 permanent jobs for US workers. The

application form for such immigration benefit is Form I-526, “Immigration Petition by Alien

Entrepreneur.”

34.    The regulations require investor’s active involvement in management or policy making of the

EB-5 enterprise. The early results of EB-5 program were disappointing until some times in 1993,

when an INS (predecessor to USCIS) administrator ruled that being a limited partner in a limited

partnership sufficiently fulfilling the latter requirement. This particular policy change effectively

turns EB-5 business set up and operated by an entrepreneur into an EB-5 investment in securities by

passive investors.

35.    After an individual subscribes to become an EB-5 investor, he or she files a Form I-526

Immigration Petition for Entrepreneur ("I-526 Petition") to show, based on the project's business plan

and supporting documents, that the investment will satisfy EB-5 requirements. 8 U.S.C. § 1153(b)(5);

8 C.F.R. § 204.6(a) and (j). Upon approval of the I-526 Petition, USCIS will grant the investor




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conditional permanent residency, often referred to as a "conditional green card." 8 U.S.C. § 1186

b(a)(1).

36.    An EB-5 investor must establish eligibility at the time of filing and a petition cannot be

approved if, after filing, the immigrant investor becomes eligible under a new set of facts or

circumstances. Changes that are considered material that occur after the filing of an immigrant

investor petition will result in the investor’s ineligibility if the investor has not obtained conditional

permanent resident status. If material changes occur after the approval of the immigrant petition, but

before the investor has obtained conditional permanent residence, such changes would constitute

good and sufficient cause to issue a notice of intent to revoke and, if not overcome, would constitute

good cause to revoke the approval of the petition. A change is material if the changed circumstances

would have a natural tendency to influence or is predictably capable of affecting the decision.

Changes that occur in accordance with a business plan and other supporting documents as filed will

generally not be considered material. If the new commercial enterprise undertakes the commercial

activities presented in the initially filed business plan and creates the required number of jobs, the

new commercial enterprise may further deploy the capital into another activity. The activity must be

within the scope of the new commercial enterprise and further deployment must be within a

commercially reasonable period of time. Further deployment of this nature will not cause the petition

to be denied or revoked under certain circumstances.

37.    Within two years after receiving a conditional green card, the investor must file with USCIS

a Form I-829 Petition by Entrepreneur to Remove Conditions on Permanent Resident Status ("I-829

Petition") to show that the investor satisfied the investment and job creation requirements of the EB-

5 program. 8 U.S.C. § 1186b(c); 8 C.F.R. § 216.6(a) and (c). Upon satisfaction of these requirements,

USCIS will approve the I-829 Petition and grant the investor lawful permanent residence status,




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concluding the immigration process. 8 C.F.R. § 216.6(d)(1). If the I-829 Petition is denied, USCIS

will terminate the conditional green card and institute removal proceedings to deport the investor

from the United States. 8 C.F.R. § 216.6(d)(2).

38.    The initial Form I-526 immigrant petition must be filed in good faith and with full intention

to follow the plan outlined in that petition. While USCIS allows this flexibility in Form I-829 filings,

nothing in this policy relieves an immigrant investor from the requirements for removal of conditions.

Therefore, even in the event of a change in course, an immigrant investor must always be able to

demonstrate that: 1) This at-risk investment was sustained throughout the period of the petitioner’s

conditional permanent residence in the United States; and 2) The investor created (or maintained, if

applicable), or can be expected to create within a reasonable period of time, the requisite number of

jobs. See USCIS Policy Manual Volume 6 Part G, Chapter 5.

39.    In about 1993, USCIS implemented a policy change that being a limited partner in a limited

partnership sufficiently fulfilling the requirement of policy making in the EB-5 enterprise.

Purchasing membership as limited partner in an EB-5 enterprise is securities.

40.    The EB-5 Program attracts many people from real estate industry to set up regional centers to

invest the funds coming from immigrants and to turn EB-5 program into a commercial lending vehicle,

most of which have more than 100 investors, a threshold for registration requirement of investment

company per 1940 Investment Company Act.

41.    Most of the EB-5 fund manager are not proficient with U.S. securities regulations and carry

out their operations, either intentionally or by gross negligence, in violation of anti-fraud provisions

and registration requirement of securities laws of United States.

42.    EB-5 immigrant visas are limited by the EB-5 law Congress passed in 1990. All employment-

based and family-based preference immigration is subject to limits. For EB-5, the annual limit is




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10,000 immigrant visas (currently counted as the investor, spouse and any dependent children) per

fiscal year. No single country can use up more than 7.1% of the available immigrant visas, but any

unused immigrant visas (i.e., if no other country uses up at least 7.1%) can "flow up" to a single

country using more than 7.1%. For example, China was able to use 85% of the available EB-5

immigrant visas in 2014 because no other country was close to the 7.1%.

43.    The Chinese Student Protection Act (“CSPA”), signed it into law on October 9, 1992,

established permanent residence for Chinese nationals that came to the United States from June 5,

1989 to April 11, 1990. Over the years, the Act granted green cards to an estimated number of 54,000

Chinese nationals. The CSPA authorized the issuance of 1,000 immigrant visas to students from

mainland China. However, 700 of those visas “shall be deemed to have been previously issued to

natives of that foreign state under section 203(b)(5) of [the INA] in that year.” The other 300 come

from the EB-3 category. This theoretically reduces the base number of EB-5 visas available to China

(695) to a deficit (-5) in any given year. In effect, nationals of mainland China may only immigrate

to the United States under the EB-5 program where there is insufficient demand for EB-5 visas

from other countries.

44.    As EB-5 program gains popularity in countries besides mainland China, more and more

countries start to reserve EB-5 immigrant visas for their citizens and some countries like Vietnam and

India are to use up their 700 EB-5 immigrant visas annually. Such high demand leaves less and less

EB-5 visas to nationals of mainland China. Chinese EB-5 investors who filed their immigration

petitions in 2014 are faced with visa backlog for up to 8 years. It is estimated that by 2025, there

might be no more EB-5 immigrant visas available to nationals of mainland China who had filed their

immigration petitions since March 2015. See Exhibit 9.




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45. Chinese EB-5 immigration petitioners usually place their $500,000 investment in US job creation

enterprises even before their I-526 petitions are approved by USCIS. The initial term of investment

loan to US job creation enterprises is 5 years. At the end of the 5 years term, EB-5 fund managers

require Chinese EB-5 investors to redeploy their investment to meet “at risk” requirement even

though Chinese EB-5 investors might not become US residents for many years or never.

46.    USCIS issued a conflicting guideline in its Policy Alert on June 15 2017 and the Alert provides

that an investor must continue to be eligible for the EB-5 visa classification throughout the

adjudication of his or her Form I-526 and until he or she obtains conditional permanent resident status

by making an investment that remains “at risk.” However, USCIS Policy Manual Volume 6 Part G,

Chapter 2 also provides that an immigrant investor’s money may be held in escrow until the

investor has obtained conditional permanent resident status if the immediate and irrevocable

release of the escrowed funds is contingent only upon 1) approval of the Immigrant Petition by Alien

Entrepreneur (Form I-526); and 2) visa issuance and admission to the United States as a conditional

permanent resident, or approval of the investor’s Application to Register Permanent Residence or

Adjust Status (Form I-485).

                                  Chinese Securities Regulations



47.    Just like in the US, securities industry is highly regulated in China.

48.    A simple google search can produce information about regulations on providing investment

consulting in China, published as early as in 1997, which states: “Article 2 Anyone who engages in

the securities or futures investment consultancy business within the territory of the People's Republic

of China must observe these Measures. The securities or futures investment consultancy referred to

in these Measures means the directly or indirectly paid consultancy services provided by agencies




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and their investment consultants engaged in the securities or futures consultancy business for

securities or futures investors or clients through securities or futures investment analyses, forecasts

or recommendations, etc. in the following forms: (1) to accept entrustment from an investor or client

to provide securities or futures investment consultancy services; (2) to hold consultancy seminars,

lectures and analysis meetings on securities or futures investment; (3) to publish articles,

commentaries and reports on securities or futures investment consultancy in newspapers and

periodicals, and to provide securities or futures investment consultancy services through such mass

media as radio or television; (4) to provide securities or futures investment consultancy services

through such telecommunications facilities as telephone, fax, computer network; and (5) other forms

recognized by the China Securities Regulatory Commission (hereinafter referred to as the CSRC ).

Article 3 A business permit must be obtained from the CSRC in accordance with the provisions of

these Measures to engage in a securities or fixtures consultancy business. No institution or individual

shall engage in a securities or fixtures investment consultancy business in the various forms listed in

Article 2 of these Measures without the permit of the CSRC. Securities dealer institutions, fixtures

broker institutions and their staff shall observe the provisions of these Measures when engaging in

the securities or fixtures investment consultancy business beyond the respective scope of those

institutions. Article 4 Provisions of relevant laws, regulations, rules and of the CSRC must be

observed and the principles of objectivity, fairness, honesty and good faith must be adhered to when

engaging in a securities or fixtures investment consultancy business.”

49.    To raise investment in China by any foreign business, securities issuers shall disclose to the

Chinese public to the effect that THE INTERESTS MAY NOT BE OFFERED OR SOLD DIRECTLY

OR INDIRECTLY TO THE PUBLIC IN THE PEOPLE’S REPUBLIC OF CHINA (“CHINA”) AND

NEITHER THIS MEMORANDUM, WHICH HAS NOT BEEN SUBMITTED TO THE CHINESE




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SECURITIES AND REGULATORY COMMISSION, NOR ANY OFFERING MATERIAL OR

INFORMATION CONTAINED HEREIN RELATING TO THE INTERESTS, MAY BE SUPPLIED TO

THE PUBLIC IN CHINA OR USED IN CONNECTION WITH ANY OFFER FOR THE

SUBSCRIPTION OR SALE OF THE INTERESTS TO THE PUBLIC IN CHINA. THE INTERESTS

MAY ONLY BE OFFERED OR SOLD TO CHINA-RELATED ORGANIZATIONS THAT ARE

AUTHORIZED TO ENGAGE IN FOREIGN EXCHANGE BUSINESS AND OFFSHORE

INVESTMENT FROM OUTSIDE OF CHINA. SUCH CHINA-RELATED INVESTORS MAY BE

SUBJECT TO FOREIGN EXCHANGE CONTROL APPROVAL AND FILING REQUIREMENTS

UNDER THE RELEVANT CHINA FOREIGN EXCHANGE REGULATIONS.



                                     US Securities Regulations



50.    Application of US securities laws to EB-5 fund-raising targeting unsophisticated foreign

received little attention by EB-5 stakeholders for twenty years, until Securities and Exchange

Commission (“SEC”) took an enforcement action against an EB-5 regional center in SEC v. Chicago

International Convention Center in February 2013. Even today, securities laws related to EB-5

offering and EB-5 fund management is largely ignored.

51.    SECTION 17(a) OF THE SECURITIES ACT of 1933 provide that “[I]t shall be unlawful for

any person in the offer or sale of any securities by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails, directly or indirectly—

1) to employ any device, scheme, or artifice to defraud, or 2) to obtain money or property by means

of any untrue statement of a material fact or any omission to state a material fact necessary in order

to make the statements made, in light of the circumstances under which they were made, not




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misleading; or 3) to engage in any transaction, practice, or course of business which operates or would

operate as a fraud or deceit upon the purchaser.” (SEC v. Chicago International Convention Center,

LLC). Since then, SEC has taken numerous enforcement actions against fraudulent EB-5 fund

promoters, including SEC v. US Now LLC; SEC v. Justin Moongyu Lee; SEC v. Path America LLC

et al; SEC v. EB-5 Asset Management LLC et al; SEC v. Robert Yang et al; SEC v. Kameli et al; SEC

v. Ariel Quiros et al; SEC v. Charles Liu et al; SEC v. Emilio Fransciscon et al; SEC v. AJN

Investment, LLC et al; SEC v. Andy Shin Fong Chen et al.; SEC v. Ronal Van Den Heuvel, et al.; SEC

v. Edward Chen, et al.; SEC v. Palm House Hotel, et al.; SEC v. America Modern Green Senior

(Houston) LLC, et al.; SEC v. San Francisco Regional Center, et al.

52.    SECTION l0(b) OF THE EXCHANGE ACT, AND EXCHANGE ACT of 1934 provides that

It shall be unlawful for any person, directly or indirectly, by the use of any means or instrumentality

of interstate commerce, or of the mails or of any facility of any national securities exchange, (a) To

employ any device, scheme, or artifice to defraud, (b) To make any untrue statement of a material

fact or to omit to state a material fact necessary in order to make the statements made, in the light of

the circumstances under which they were made, not misleading, or (c) To engage in any act, practice,

or course of business which operates or would operate as a fraud or deceit upon any person, in

connection with the purchase or sale of any security."

53.    Under the federal securities laws, any offer or sale of a security must either be registered with

the SEC or meet an exemption. Regulation D under the Securities Act provides a number of

exemptions from the registration requirements, allowing some companies to offer and sell their

securities without having to register the offering with the SEC. Companies that comply with the

requirements of Regulation D do not have to register their offering of securities with the SEC, but

they must file what’s known as a "Form D" electronically with the SEC after they first sell their




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securities. Before any investor subscribes to an issuer of a private placement offering, there has to be

verification. What this means is that the company must take steps to ensure all prospective investors

are “accredited” before selling them any securities. If the company fails to conduct this verification,

they will not be in compliance with Regulation D through Rule 506(c). If this is not done properly, it

will lead to future complications with the SEC, as this problem cannot be solved at a later date.

Verification must happen before any sale of securities takes place. Regulation S is similar to

Regulation D in that it provides exemption from registering private securities with the SEC. The main

difference is that Regulation S is intended for offerings aimed exclusively at international investors.

The status of an “international investor” is based more on geography rather than citizenship. For

example, if an investor is physically based within the United States, that person is conserved a

domestic investor, even if they are not a citizen of the country. Under Reg S, sales can only be made

to non-US residing individuals. To further support this main tenet of the regulation, the second

requirement states that there can be absolutely no solicitation of advertising inside the United States.

In SEC v. CMB Export, et al. SEC charged EB-5 fund promoter for violation of Section 5(a) and (c)

of the Securities Act. Section 5(a) of the Securities Act prohibits the use of any means or instruments

of transportation or communication in interstate commerce or of the mails to sell a security unless a

registration statement is in effect as to such security. Section 5(c) of the Securities Act prohibits the

use of any means or instruments of transportation or communication in interstate commerce or of the

mails to offer to sell or offer to buy a security unless a registration statement has been filed as to such

security.

54.    In addition to charge EB-5 fund promotors for securities fraud and unregistered securities

offering, in SEC v. Luca International Group, LLC et al. and SEC v. Serofim Muroff et al., SEC

charged EB-5 fund promotors of Investment Adviser Fraud. Section 202(a) (11) of the Investment




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Advisers Act of 1940 generally defines an "investment adviser" as any person or firm that: (1) for

compensation; (2) is engaged in the business of; (3) providing advice, making recommendations,

issuing reports, or furnishing analyses on securities, either directly or through publications. An EB-5

fund manager is an investment adviser due to his or her ownership, management, and control of EB-

5 fund. Rule 206(4)-8 - Pooled investment vehicles provide that (a) Prohibition. It shall constitute a

fraudulent, deceptive, or manipulative act, practice, or course of business within the meaning of

Section 206(4) for any investment adviser to a pooled investment vehicle to: (1) Make any untrue

statement of a material fact or to omit to state a material fact necessary to make the statements made,

in the light of the circumstances under which they were made, not misleading, to any investor or

prospective investor in the pooled investment vehicle; or (2) Otherwise engage in any act, practice,

or course of business that is fraudulent, deceptive, or manipulative with respect to any investor or

prospective investor in the pooled investment vehicle. (b) Definition. For purposes of this section

“pooled investment vehicle” means any investment company as defined in Section 3(a) of the

Investment Company Act of 1940 or any company that would be an investment company under

section 3(a) of that Act but for the exclusion provided from that definition by either Section 3(c)(1)

or Section 3(c)(7) of that Act.

55.    Section 3(c)(1) of the Investment Company Act of 1940 offering exemption from definition

of investment company provides that any issuer whose outstanding securities are beneficially owned

by not more than one hundred persons and which is not making and does not presently propose to

make a public offering of its securities. Most commonly used exemption from definition of investment

company by EB-5 fund promoters recruiting more than 100 investors is Section 3(c)(5) that generally

excludes from the definition of investment company any entity that is primarily engaged in the

business of purchasing or otherwise acquiring mortgages and other liens on and interests in real estate.




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56.     In a No Action Letter issued to Realex Capital Corporation in 1984, the Securities and

Exchange Commission did not decline to take action. Realex was looking to invest as a limited partner

in a limited partnership that would own and operate a building. The SEC took the position that the

interests would be “investment contracts” and therefore securities, not real estate for purposes of

section 3(c)(5). Realex would be relying on the efforts of the managing partners for the success of the

enterprise. In this case, Realex had only limited major decision rights. For example there was a

limitation on sale, but Realex could only object if it did not receive net cash proceeds at least equal

to its capital contributions.



      Sale of Securities Issued by 701 Fund, 702 Fund, AYB II Funds to Chinese Investors


57.     Plaintiff discovered that between 2014 and 2016, Ding, Mastroianni, and Developers of 701

Project, 702 Project and AYB II Project (collectively “EB-5 Projects”) hosted road shows held in

grand hotels in major cities in China to promote the securities issued by Defendants 701 Fund, 702

Fund, AYB Fund, all controlled by Defendant Mastroianni, to finance certain real estate

developments in New York City. See Exhibit 12. The public and investors at the show were not

disclosed with the facts that those EB-5 funds are controlled by Defendant Mastroianni, but not by

the Developers of EB-5 projects. With information and belief, Defendants misled the public and

investors to believe that $500,000 capital will be returned directly to the investors in 5 years by

developers of EB-5 projects.

58.     Plaintiff discovered that, through online and other media advertisement in addition to public

road shows, Qiaowai as agent for Ding, Mastroianni, have recruited 400 investors with $200 million

for 701 Fund, about 360 investors with $180 million for 702 Fund, and at least 498 investors with

$294 million for AYB II Fund (collectively “EB-5 Funds”). However, the offering documents



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provide that EB-5 Funds claim Regulation D exemption to avoid registration their securities with

SEC on the grounds that these Funds will not engage public promotion and advertising.

59.    Plaintiff discovered that the business scope of Qiaowai is visa consulting service according to

registration information obtained from Chinese business registration search. Defendants Mastroianni,

USIF used Defendant Ding and Qiaowai as the marketing agent for EB-5 funds managed by

Defendants Mastroianni and USIF and pay Ding and Qiaowai transaction-based fees from the $50,000

administrative fees paid by EB-5 investors. EB-5 investors were not disclosed with this fact because

Ding, Qiaowai, Mastroianni, and USIF colluded to withhold complete offering documents from EB-

5 investors.

60.    Plaintiff discovered that, at time of promoting EB-5 Funds, none of Ding (“Qiaowai Group”),

Mastroianni, and Developers of EB-5 Projects were registered investment advisors in the US or in

China in violation of regulations set by China Securities Regulatory Commission. None of above

parties have obtained permits to provide investment consultation to Chinese public. Securities issued

by EB-5 Funds were not approved by Chinese regulators. No one alerted investors in Chinese to seek

independent financial advisor or legal counsel to evaluate the investment offering documents as

majority of Chinese investor don’t read English.

61.    Plaintiff discovered that staff from Qiaowai under Ding’s instruction provided prospective

investors with marketing brochures in Chinese on US EB-5 Immigrant Investor Program. In the

marketing brochure, it claims a) Immigrant Petitioner shall invest $500,000 in an investment project

sponsored by a USCIS approved regional center and investment would be repaid in 5 years. b)

Immigrant Petitioner shall pay additional $45,000 to $60,000 in fees to cover operation and oversight

cost of the immigration project. c) There is no asset requirement for the petitioner and source of




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investment fund can be gifted or inherited. d) Petitioner should receive immigration visa in one and

half year.

62.    Plaintiff discovered that staff from Qiaowai under Ding’s instruction provided marketing

brochures in Chinese on 701 Fund, 702 Fund and AYB II Fund and convinced Plaintiff’s clients to

subscribe to these Funds. No official offering documents were provided to some of Plaintiff’s clients

either in English or Chinese.

63.    Plaintiff discovered that, under Ding’s instruction, Qiaowai instructed her clients to sign “Visa

Consultation Service Agreement with Qiaowai. Qiaowai instructed her client to pay about $9,000 in

consultation fee, $2,800 in document preparation fee to Qiaowai. Qiaowai also instructed her clients

to wire $15, 000 to a Hong Kong company, Rich Most or some other businesses for “management

consulting and public relations service” in lieu of immigration attorney fee.

64.    Plaintiff discovered that her clients didn’t sign any retainer agreement directly with any

immigration attorneys. However, under Ding’s instruction, Qiaowai instructed her clients to sign I-

526 petitions prepared by Qiaowai with preparers as either Mr. Hsien Hao Chang or Mr. Donoso

Ignacio.

65.    Plaintiff discovered that her clients were instructed to sign on signature pages of the document

provided by Qiaowai under Ding’s instruction. The 10 plus pages documents were all in English

with no Chinese translation provided. Her clients don’t read or write English. No one explained the

nature of these documents. Her clients believed that they signed only immigration application forms

issued by USCIS.

66.    Plaintiff discovered that, with no explanation or translation provided to her clients, Qiaowai

induced her clients to sign on the signature pages of 1) the Investor Pre-Subscription Letter Agreement

(“Pre-subscription Letter”); 2) Determinations of Accredited Investors Status, 3) Subscription




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Agreement; 4) W-7 Form; 5) W-8BEN Form; 6) Joinder in Master Escrow Agreement; 7) Operating

Agreement.

67.    According to the written communication sent by Defendant USIF, Defendant USIF

acknowledged that Plaintiff’s clients were instructed to sign the Subscription Agreement and

Operating Agreement, and wired $548,000 to $552,000 to bank accounts controlled by Defendant

USIF before Defendant USIF provided numbered Confidential Offering Memorandum. Defendant

USIF returned signature pages of the Subscription Agreement and Operating Agreement

countersigned by Defendant Mastroianni to Qiaowai, and under Ding’s instruction, such documents

were kept by Qiaowai for years from Plaintiff’s clients.

68.    Under the information and belief, under Ding’s instruction, Qiaowai doctored executed

Subscription Agreement and Operating Agreement by attaching the signature pages signed by

Plaintiff’s clients and by Defendant Mastroianni and submitted them to USCIS along with other

private information of EB-5 investors.

69.    Plaintiff discovered that throughout the entire subscription process, there was no registered

broker-dealer from US or from China hired to conduct suitability test or verify whether those investors

were accredited investors. The pre-filled page of “Accredited Investor Status” didn’t have investor’s

name or signature. The form was countersigned by Defendant Mastroianni. Plaintiff’s clients stated,

at the time of signing subscription agreement, nobody inquired about their status as accredited

investors and they didn’t claim to have over $1,000,000 in net assets. Under the information and belief

the investor’s name on the “Accredited Investor Status” form was handwritten by Defendant

Mastroianni and his staff in the US. However, the offering documents provide that 701 Fund, 702

Fund and AYB II Fund claim Regulation D exemption to avoid registration their securities with SEC

on the grounds that these Funds will accept investors who are verified as accredited investors.




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70.    Plaintiff discovered that at no time during the subscription process, Defendants explained to

Chinese investors that they were purchasing an interest in an EB-5 enterprise. As result they would

give up total control of their investment and their investment are at risk for total loss even in the case

the investors don’t receive EB-5 visas.

71.    Plaintiff discovered that Qiaowai and USIF, through the marketing brochures in Chinese on

EB-5 and their EB-5 Funds, misled Chinese investors to believe that they were making a 5 years loan

to real estate developments and their investment were secured by the real estate development. In fact,

Chinese investors purchased limited partnership interests in EB-5 Funds personally controlled by

Mastroianni, and the partnership interest is not secured with direct real estate assets of EB-5

Developments. Chinese investors can’t exit from these EB-5 Funds without consent of Mastroianni.

72.    Plaintiff discovered that the Pre-subscription Letter required investors to acknowledge to seek

their own representatives and professional advisors, including legal counsel and accountants to

evaluate the investment in these Funds. Under the instruction of Ding, no one from Qiaowai

explained the nature of Letter to investors in Chinese and alert investors to seek independent advisors.

73.    Plaintiff discovered that, in addition to visa consulting fees of over $10,000 paid to Qiaowai

directly, Plaintiff’s clients were required to pay $48,000 to 52,000 in administrative fee to these Funds.

Defendant Mastroianni disclosed in the Confidential Offering Memorandum, documents not provided

to most of Chinese investors, that most of administrative fee would be paid to Ding and Qiaowai for

placing Chinese investors in these EB-5 Funds controlled by Mastroianni.

74. Plaintiff discovered that these Funds controlled by Defendant Mastroianni charged 5.9%, 6.65%

and 4.5% annual interest respectively to EB-5 Project Developers. Additionally, he charges 1.5%

origination fee, prepayment fee, and loan service fee. Defendant Mastroianni disclosed in the

Confidential Offering Memorandum, documents not provided to Chinese investors, that a portion of




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about $30,000 annual interest income would be paid to Ding and Qiaowai for investment consulting

during the course of loan made to EB-5 Projects. In contrast, Plaintiff’s clients received about $105

per year on their $500,000 investment.

75.    Plaintiff discovered that, in addition to pay about $2,800 for EB-5 document preparation

service, Qiaowai instructed Plaintiff’s clients to wire their attorney fees $15,000 to a Hong Kong

business called Rich Most for management consulting and public relations service instead of

depositing in client trust accounts in a US. bank for tax evasion purpose. Plaintiff’s clients were

assigned to Mr. Hsien Hao Chang and Mr. Donoso Ignacio but didn’t sign retainer agreements with

them. Mr. Donoso Ignacio is also the immigration counsel for Defendants USIF, Plaintiff’s clients

were not informed that Mr. Hsien Hao Chang and Mr. Donoso Ignacio are only immigration attorneys

that don’t provide advice on their investment. Mr. Hsien Hao Chang and Mr. Donoso Ignacio made

NO contacts with Plaintiff’s clients before their I-526 Immigration Petitions were filed with USCIS.

Mr. Hsien Hao Chang and Mr. Donoso Ignacio made NO verification of investments made by

investors are legally obtained. Under the instruction of Ding, Qiaowai prepared all I-526 petitions

submitted to USCIS with Mr. Hsien Hao Chang and Mr. Donoso Ignacio as preparers for these clients.

76.    The Confidential Offering Memorandum (“PPM”) of EB-5 Funds provides NO disclosure

related to selling foreign securities to the general public in China by individuals with no permit. The

PPM only provides that “The Company is offering the Units solely to non-U.S. individuals who are

“accredited investors” for purposes of Regulation D under the Securities Act of 1933, as amended

(the “Securities Act”). The Company is offering the Units in reliance upon Regulation D and

Regulation S under the Securities Act” to be exempt from registration requirement. Some of

Plaintiff’s clients were college students in US and was not accredited investor with at least $1,000,000

in net worth at the time of purchasing a membership in EB-5 Funds.




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                                    702 Fund and 702 Project

77.    On Oct 1, 2013, SEC and USCIS issued an Investor Alert: Investment Scams Exploit

Immigrant Investor Program. SEC and USCIS warn the investors that the fact that a business is

designated as a regional center by USCIS does not mean that USCIS, the SEC, or any other

government agency has approved the investments offered by the business, or has otherwise expressed

a view on the quality of the investment. The SEC and USCIS are aware of attempts to misuse the EB-

5 program as a means to carry out fraudulent securities offerings.

78.    The Investor Alert advises EB-5 investors to look for hallmarks of fraud including 1)

Promises of a visa or becoming a lawful permanent resident. 2) Guaranteed investment returns

or no investment risk. 3) Overly consistent high investment returns. 4)Unregistered

investments. 5) Unlicensed sellers. 6) Layers of companies run by the same individuals.

79.    SEC advises investors to consult attorneys who specialize in securities law.

80.    Since 2014, Chinese migration agencies including Ding and Qiaowai, along with US

immigration attorneys including Mr. Hsien Hao Chang and Mr. Donoso Ignacio, that promote EB-5

immigration program in China, intentionally or with gross negligence fail to inform Chinese EB-5

investors of this Investor Alert about EB-5 investment scams. Chinese migration agents and US

immigration attorneys fail to advise Chinese EB-5 investors to consult attorneys who specialize in

securities law.

81.    Even though Regulation D exemption of unregistered securities prohibit public promotion,

Plaintiff discovered that Defendants Mastroianni and Ding, along with management of 702

Developers, held several road shows in grand hotels in major cities in China in 2016. At Defendant




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Mastroianni and his staff Sheng Jianlan gave passionate speech about 702 Project, according to the

recording obtained by Plaintiff. See Exhibit 12 Transcription of Speech by Sheng Jianlan.

82.    Chinese investors were never given risk disclosure in the Offering documents that there is

negative quota of EB-5 visas available to Chinese investors and they may have not any EB-5

immigration visas available to them if demands from other countries use up EB-5 visas reserved for

these countries. When requested to provide evidence of senior loan commitment by JP Morgan as

advertised during the road show, USIF provided unverified, a construction loan term sheet executed

on July 20, 2017. The term sheet seems to be valid until December 2017. However, by December

2017, USIF failed to provide senior loan commitment by JP Morgan. The particular investor engaged

Attorney Justin London of Law Offices of Justin London and in December 2017, Attorney London

sent a demand letter to Defendants based on the fraud analysis provided by Plaintiff. See Exhibit 13.

One week later, Defendants agreed to full refund to the investor in the amount of $552,000 including

capital contribution of $500,000 and management fee of $52,000.

83..   Even though Chinese investors are not provided with complete Offering documents under the

direction of Chinese migration agents, the immigrating attorneys who file I-526 petitions for their

clients are in possession of complete Offering documents and could easily verify information with

their clients. For the fact that immigration attorneys receive referrals from Chinese migration agents

and US EB-5 fund issuers, these immigration attorneys collude with Chinese migration agents and

US EB-5 fund issuers to cover up EB-5 scams against the interests of their Chinese clients who have

paid $15,000 each for immigration attorneys to uphold their fiduciary duty.

84.    The Confidential Offering Memorandum of 702 Fund provides: The Company may not

comply with the applicable securities laws of the United States - This offering is not registered with

the Securities and Exchange Commission and is being made pursuant to certain exemptions from




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state and federal registration requirements. If it is later determined that the offering did not fully

comply with United States federal or state law, we may be required to refund certain investors’ capital

contributions, plus interest. Due to our intended use of the proceeds, we likely will not have sufficient

capital to return to those investors requesting a return of their capital in the event of a failure to

comply with applicable securities laws. Additionally, if lawsuits for rescission are brought under the

Securities Act and successfully concluded for failure to register any of our securities offerings, or for

acts or omissions constituting offenses under the Securities Act or other applicable securities laws,

our capital and assets could be adversely affected, jeopardizing our ability to operate successfully.

Further, if any portion of the capital contributions of investors seeking a visa under the EB-5 Program

are used to pay the costs of defense of a suit by the Securities and Exchange Commission or are

returned to the investors seeking rescission, certain investors may be denied permanent visas under

the EB-5 Program because funds were used for purposes other than to create jobs.

85.    The Confidential Offering Memorandum of 702 Fund provides that the security for the

Mezzanine Loan will consist of a collateral assignment of any title insurance proceeds of the owner

of the Borrower Property and a pledge of the direct or indirect membership interests of in the owner

of the Borrower Property. The Mezzanine Loan will not be secured by a mortgage on the Borrower

Property or the Project. As a result, the security of the Mezzanine Loan is limited and may not be

sufficient to ensure the repayment of the Mezzanine Loan.

86.    As described in Demand Letter sent by Attorney London to USIF in December 2017,

according to the Chinese advertisement ran on one or more online Chinese websites promoting 702

Fund, Ding and Qiaowai, the marketing agent for Mastroianni and USIF, stated:

       • After the entire family immigrates to the United States, the full amount will be returned.

       • It is almost like a good investment. There is no investment risks, but with some ROI.




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          • In the end, the whole family gets green cards.

87.       At the roadshow on April 17, 2016, USIF staff, Sheng Jianlan, told investors that

          • their funds were “legally protected,”

          • the project has attracted enough funding commitments to ensure its completion,

          • this project was a great money-maker and had unlimited potential

88        Most important, Mastroianni also failed to disclose to the investors at the road show or in the

Offering documents of his criminal, legal, and financial history such as the following material facts

that any investor would want to know as any investor wants to know who is managing their funds:

      •   Between 1985 and 1993, court records show that Rhode Island police arrested Mastroianni

          four times for felony possession of a controlled substance. Mastroianni pleaded no contest

          four times, and received a suspended sentence and probation each time.

      •   In May 2000, Mastroianni’s business Interstate Design & Construction went into receivership.

          Banks foreclosed on his office properties and two homes.

      •   In 2002, a surety bond company sued Mastroianni to recover costs of completing 28 of his

          soundproofing jobs and won a $1.1 million default judgment that you did not pay until

          December 2013.

      •   In July 2003, the U.S. Department of Labor sued Mastroianni accusing Mastroianni of

          diverting $401,361 in required employer pension fund contributions, which were to be made

          “no less than quarterly.” The suit claimed Mastroianni illegally used the money for “various

          personal expenses” and to provide seed money for another business that Mastroianni owned.

          After the government won a default judgment, the case was finally closed in April 2006 with

          a negotiated partial restitution payment of $75,000.




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•   In September 2013, Mastroianni filed for personal bankruptcy. In that proceeding, a court-

    appointed trustee accused Mastroianni of “knowingly and fraudulently” lying about his assets,

    including hundreds of thousands in cash and retirement accounts. Ultimately, because of his

    lies, Mastroianni agreed that his debts would not be discharged in the bankruptcy.

•   Even as legal disputes dragged on in Rhode Island courtrooms, Mastroianni relocated to Palm

    Beach County, Fla., where Mastroianni began operating a new company, Allied Capital &

    Development that specializes in projects “with the highest standards of quality and

    construction,” according to its promotional materials. Allied’s website says [Mastroianni] has

    been “recognized for his commitment to excellence in construction," and notes that he has

    "hosted numerous charitable events with both prominent sports figures and political

    constituents. Yet in Florida, virtually every one of the dozen or so projects Allied launched

    over the past decade has faced delays, lawsuits or construction problems. Allied has completed

    few of them.

•   In July 2004, a building collapse at Allied's townhouse development in Hobe Sound, named

    "Tranquility," killed two workers and seriously injured several others. Allied, the developer

    and construction manager, faced no criminal charges or regulatory penalties, but it settled

    multiple lawsuits. Afterwards, Mastroianni defended the concrete contractor he had hired to a

    local reporter, saying Allied had "checked them out" and had "no reason to believe they caused

    any problems here." Local press later reported that the contractor had a history of serious

    safety violations and lacked workers' compensation insurance. After investigating the matter,

    Florida regulators barred the concrete company from doing business in the state and fined it

    $2.4 million. Today Mastroianni describes it as "a tragic accident on the part of the General

    Contractor" and insisted "my partners and I were not constructing the project and had no




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          involvement in the day-to-day operations." (though OSHA's final report of its investigation,

          dated Dec. 1, 2004, recounted the role of Mastroianni's firm in key construction decisions.)

          Meanwhile, a lender foreclosed on a nearby Allied townhouse development called Heron

          Cove after a Mastroianni-led business defaulted on a $12.3-million loan. And four other

          Mastroianni projects, in Cocoa and Palm Beach County, have not been built. Court records

          show the developments have faced lawsuits and foreclosure actions. Mastroianni recently

          settled with one lender who demanded an additional $6.3 million from him and a former

          partner, who signed personal guarantees.

      •   In numerous instances, Mastroianni have failed even to respond when a lawsuit is filed. For

          example, in 2007, owners at Marbella Villas, 54 townhouses that Allied developed in North

          Palm Beach, sued one of Mastroianni’s companies, citing its refusal to fix "construction

          deficiencies and defects," which homeowners and their lawyers say included a broken water

          main that allegedly created a sinkhole, unfinished landscaping, a malfunctioning front gate,

          and structural defects. Mastroianni didn't contest the charges, and the homeowners won a

          $1.25 million default judgment. But they have yet to collect a penny. According to the lawyer

          for the homeowners, by the time the judgment had issued, Mastroianni abandoned the two

          corporate entities ordered to pay the judgment, allowing their registrations to lapse.

89.       Mastroianni refunded $500,000 in capital contribution and $52,000 in management fee 8 days

upon receiving the demand letter from Attorney London in December 2018. Plaintiff provided fraud

analysis in drafting this demand letter.

90.       Mastroianni sets up a shadow company to the business entity that acts as General Partner for

ever y EB-5 Fund he manages. 1568 Broadway Funding 100 GP, LLC is “702 Manager” while NYC




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2000 Investment, LLC is “702 Fund Co-Manager” whose controlling principal is Nicholas

Mastroianni, II but with no information about NYC 2000 Investment, LLC.

91.    The Offering document of 702 Fund dated March 28 2016 provides that 702 Fund will make

the Mezzanine Loan to CFMDC BWAY Hotel Mezz I LLC, (the “EB-5 Loan Borrower”) up to $350

million as a mezzanine loan and the title insurance proceeds of the property under development as

collateral. The Property (other than the theatre (the “Borrower Property”)) is owned by Times Square

Hotel Owner, LLC (the “Property Owner”). According to the sign posted on construction site, visited

by Plaintiff on March 27, 2019, the Owner is Times Square Hotel Owner, LLC at 142 West 57th Street,

New York, NY 10019.

92.    Under information and belief, Mastroianni caused a loan agreement signed on July 20, 2017

between 702 Fund and CFMDC BWAY Hotel Mezz I LLC with CFMDC BWAY Hotel Mezz I LLC

as 702 Fund Borrower.

93.    The Operating Agreement of 702 Fund provides that 702 Fund has been formed for the

purpose of making a loan (the “Mezzanine Loan”) to the Borrower for the funding of the Project.

Under information and belief, Mastroianni caused a wire transfer to CFMDC BWAY Hotel

Acquisition LP first of $160 million on July 20, 2017 and later of over $7 million on or about Nov 7,

2018. CFMDC BWAY Hotel Acquisition LP is NOT 702 Fund Borrower pursuant to the loan

agreement signed on July 20, 2017 between 702 Fund and CFMDC BWAY Hotel Mezz I LLC.

94.    Only in March 2019 in an effort to solicitate redeployment loan from certain investors of AYB

II Fund to finance 702 Project that USIF disclosed that Maefield Development, Fortress Investment

Group and L&L Holding have purchased the hotel portion of 1568 Broadway for $200 million on

July 20, 2017, with a recorded lien of $162,874,240. USIF didn’t disclose if the lien holder is

JPMorgan Chase or 720 Fund that possibly provided $160 million. JPMorgan Chase provided $75




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million for the hotel purchase in addition to previously providing $175 million in financing on the

hotel portion of the building. Maefield Development, Fortress Investment Group and L&L Holding

are the developers of 702 Project that owns CFMDC BWAY Hotel Acquisition LP, CFMDC BWAY

Hotel Mezz I LLC and Times Square Hotel Owner, LLC and 30 other business entities related to 702

Project. See Exhibit 1. Mastroianni and USIF never disclose such complicated business structure to

members of 702 Fund.

95.    Times Square Hotel Owner, LLC (the “Property Owner”) of 702 Project entered a

construction loan term sheet with JPMorgan Chase Bank in the amount of $1.3 billion on July 20,

2017 which expired in December 2017 without construction loan provided to Times Square Hotel

Owner, LLC. Mastroianni and USIF never disclose such material fact to members of 702 Fund.

96.    Unknown to members of 702 Fund, 702 Developers and Mastroianni caused AMENDED

AND RESTATED MEZZANINE LOAN AND SECURITY AGREEMENT (“MEZZ Loan

Agreement” that USIF to be entered on December 12, 2018 between 702 Fund (in Note A at 6.65%

and Note B at 7.65% interest rate) and 701 Fund (in Note C at 13% interest rate) and/or possible

AYBII Fund (in Note D at 13% interest rate) with CFMDC BWAY Hotel Mezz I LLC, CFMDC

BWAY Retail Mezz I LLC, and CFMDC BWAY Signage Mezz I LLC (collectively EB-5 Borrower)

in the aggregate principal amount of $494,500,000. See Exhibit 14. The MEZZ Loan Agreement has

not been provided to members of 701 Fund, 702 Fund or AYB II Fund since it was signed on

December 12, 2018. In January 2019, Plaintiff requested a copy of loan agreements to conduct due

diligent for a member of 701 Fund to make decision on redeployment.

97.    Unknown to members of 702 Fund, 702 Developers issued two REIT offerings in February

2018 for $125,000 each to 125 individuals or entities with $5 million net worth as qualified investors

and paid $1,000 each to become a shareholder of these two REITs, CFMDC BWAY Retail LLC




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(“Retail REIT”) and CFMDC BWAY Signage LLC (“Signage REIT”). See Exhibit 15. The 100

shareholders in each REIT are eligible to receive distribution of $100,000 a year. 702 Developers set

minimum release price for assets for Retail REIT and Signage REIT at $714,465,000 and

$184,860,000 respectively.

98.    Unknown to members of 702 Fund, 702 Developers arranged on December 12, 2018 Building

Loan Agreement (Exhibit 16), Senior Loan Agreement (Exhibit 17),, and Project Loan Agreement

(Exhibit 18), (collectively “Senior Loan Agreement’) for a mortgage loan in the aggregate principal

amount of $1,125,000,000 between GOLDMAN SACHS BANK USA and Times Square Hotel

Operating Lessee, LLC, TIMES SQUARE HOTEL OWNER, LLC, CFMDC BWAY OWNER LLC,

and CFMDC BWAY SIGNAGE OWNER LLC.

99.    Unknown to members of 702 Fund, 702 Developers formed on December 12, 2018 CFMDC

BWAY Hotel Pledgor LLC, CFMDC Retail Pledgor LLC and CFMDC BWAY Signage Pledgor

LLC, each a Delaware limited liability company. Together with TIMES SQUARE HOTEL OWNER,

LLC, these newly formed entities are called “Sole Member”. On December 12, 2018 the Sole

Member made certain Pledge and Security in favor of GOLDMAN SACHS BANK USA with respect

to the pledge of all of Sole Member’s equity interest (“Mortgage Collateral”) in TIMES SQUARE

HOTEL OWNER, LLC, CFMDC BWAY OWNER LLC, and CFMDC BWAY SIGNAGE

OWNER LLC. On the same day, CFMDC BWAY Hotel Mezz I LLC, CFMDC BWAY Retail Mezz

I LLC, and CFMDC BWAY Signage Mezz I LLC (collectively EB-5 Loan Borrowers) made certain

Pledge and Security (“EB-5 Collateral”) in favor of EB-5 Lender with respect to the pledge of all of

their equity interests in CFMDC BWAY Hotel Pledgor LLC, CFMDC Retail Pledgor LLC and

CFMDC BWAY Signage Pledgor LLC. Such complicated investment structure was never disclosed

to members of 701 Fund, 702 Fund and AYB II Fund that provide financing for 702 Project.




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100.   The Offering document of 702 Fund dated March 28 2016 provides that 702 Fund’s security

for the Mezzanine Loan will include, but is not limited to, (i) a collateral assignment of any title

insurance proceeds of the owner of the Borrower Property and (ii) depending upon the security

provided to the Senior Lender in connection with the Senior Loan, (A) a first priority pledge of the

ownership of 100% of the membership interests of the Borrower in the owner of the Borrower

Property or (B) a first priority pledge of the ownership of 100% of the membership interests of the

Borrower in an entity that indirectly owns the owner of the Borrower Property. The security of a

collateral assignment of any title insurance proceeds of the owner of the Borrower Property was

removed on December 12, 2018.

101.   Unknown to members of 702 Fund, Senior Loan agreement made by 702 Developers on

December 12, 2018, with permission of Defendants, provides that “Permitted Preferred Common

Equity” means an indirect equity interest in the EB-5 Borrower that entitles the PPCE Holder to

receive a preferred return on its equity that is prior to the common equity and to approve customary

“major decisions” but that has (a) no mandatory redemption date prior to the Extended Maturity Date,

(b) no pledge of equity or other collateral, (c) no right to cause a change of Control of [Senior Loan]

Borrower or any Guarantor, (d) remedies that, in [Senior Loan] Borrower’s reasonable discretion, are

customarily given to holders of preferred equity that is structured like debt but excluding, in all cases,

any of the remedies prohibited in clauses (a)-(c) above, and (e) all proceeds of the Permitted Preferred

Common Equity (net of out-of-pocket transaction costs and expenses) shall be contributed to [Senior

Loan] Borrower and spent on the Project.

102.   The Offering document of 702 Fund dated March 28 2016 provides that, under the Term Sheet

for the Mezzanine Loan, the Borrower does not have any obligation to accept the Mezzanine Loan

unless the Company is able to fund a Mezzanine Loan of at least $250,000,000 by the Threshold Date




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(March 15, 2017). Accordingly, if the Company sells less than 500 Units in the Offering, the Borrower

could elect to obtain alternative financing. If the Borrower exercises this option, the Manager will

refund to the subscribers their Capital Contributions of $500,000 and $42,000 of their Administrative

Fees unless such funds have been advanced to the Borrower under the Mezzanine Loan.

103.   Under information and belief, 702 Fund was unable to fund a Mezzanine Loan of at least

$250,000,000 by the Threshold Date (March 15, 2017). In 2018, EB-5 Borrower and Property Owner

have elected to obtain alternative financing including $144,500,000 from 701 Fund and $780 million

in new equity in December 2018 as reported by USIF and 702 Fund.

104.   In December 12 2018, Defendants executed the AMENDED AND RESTATED

MEZZANINE LOAN AND SECURITY AGREEMENTS (“702 MEZZ Agreement”) with

Developer of 1568 Broadway Development (“702 Development”). Defendants didn’t disclose the

specific loan term of the 702 MEZZ loan with members of 702 Fund before or after the execution.

105.   Defendants claimed they issued supplement to 2016 PPM on supplemented on April 19, 2017,

July 27, 2017, April 13, 2018, July 24, 2018 and October 18, 2018. One of Plaintiff’s clients in 702

Fund said he never received it even though he is right in the US for college.

106.   With Defendants’ consent, the 702 MEZZ agreement is substantially different from the term

sheet disclosed in the 2016 PPM and the changes are adverse to the interests of members of 702 Fund

while provides an instant payout of $44,661,772.77 to the Defendants.

107.   With Defendants’ consent, the 702 MEZZ agreement has increased maximum mezzanine loan

amount from $350 million to $494.5 million. 2016 PPM made representation that there would not be

an increase of mezzanine amount. The 2016 PPM capped mezzanine financing at $350 million.




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108.   With Defendants’ consent, the 702 MEZZ agreement provides that, if 702 fund fails to sell

700 units to raise $350 million by December 31, 2019, 702 Developer will arrange a new mezzanine

loan and 702/701 EB-5 fund has to subordinate to the new mezzanine loan.

109.   With Defendants’ consent, the 702 MEZZ agreement provides only equity interests of newly

registered (on December 12, 2018) affiliates of 702 Developer as collateral to the loan provided by

702 Fund. The 2016 PPM provides that title insurance proceeds of property owner of the real estate

under development as collateral to the loan provided by 702 Fund. Unknown to EB-5 investors from

701 Fund and 702 Fund, the 702 MEZZ agreement provides EB-5 financing as preferred equity to

the 702 Property owner to secure senior loan with Goldman Sachs Bank. 2016 PPM didn’t disclose

to 702 members that 702 Fund will be in form of preferred equity for 702 Developer.

110.   Given such development, the member of 702 Fund, Member Y, represented by Attorney Janet

Esagoff and through court action in New York in March 2019, requested to exercise right of rescission

and return of $500,000 in capital contribution and management fee. Mastroianni and USIF denied

his request on the excuse that 702 Fund transferred to CFMDC BWAY Hotel Acquisition LP without

any written agreement. In addition, Mastroianni and USIF filed sanction against the member and his

attorney even though Mastroianni and USIF failed to prove that the transfer of EB-5 Loan to CFMDC

BWAY Hotel Acquisition LP meets EB-5 job creation requirement.

111.   In exchange of return of $500,000, Mastroianni and USIF even asked Member Y to find

another investor as a substitute. Member Y denied such request.

112.   Without consent from members of 702 Fund, Mastroianni and USIF changed the Threshold

Date from March 15, 2017 to December 1, 2019.




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113.   Unknown to members of 702 Fund, 701 Fund and AYBII Fund, Mastroianni and USIF

received $44,661,772.77 in compensation on December 12, 2018 when they caused the execution of

MEZZ loan agreement.



                Redeployment of 701 Fund to Finance 702 Project in 2018 and

                 Collusion with Fieldstone to Fix Refund of Exiting Members



114.   By end of 2017, 702 Developers failed to raise sufficient equity and EB-5 loan and JPMorgan

Bank didn’t provide a construction in the amount of $1.3 billion according to a loan term sheet

executed between 702 Developers on July 20, 2017. Mastroianni and USIF never disclose such

material fact to members of 702 Fund or later to members of 701 Fund during the redeployment

process.

115.   Plaintiff discovered that in February 2018 702 Developer orchestrated to buy out

Borrower/Developer of 701 Fund before 701 Development funded by 701 Fund was completed, and,

together with Defendants, orchestrated an early payment to 701 Fund. 702 Developers devised a plan

to relocate $200 million of EB-5 loan in 701 TSQ 1000 Funding, LLC to make up the equity shortfall

for the 1568 Broadway Development. They effected a buy-out of majority interest owner of 701 Time

Square Edition Hotel and took over the control of $200 million of EB-5 loan associated with the

project in about February 2018. 702 Developers conspired with some of Defendants for a plan to

make early repayment of EB-5 loan out of 701 Time Square Edition Hotel development on the

condition that EB-5 loan would be redeployed into 702 Development.

116.   On May 18 2018, Defendant 701 TSQ 1000 Funding LLC and its General Partner sent a letter

to members of 701 TSQ 1000 Funding LLC about early repayment and intent to redeployment without




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disclosing the project of redeployment. See Exhibit 19. Plaintiff discovered that Respondents sent a

letter to members of 701 Fund in May 2018 that the sale of 701 Development would cause early

repayment of $75 million of the Company’s $200 million loan and Defendants would seek members’

consent to redeploy the partial repayment to a different project without option for members to

withdraw due to early repayment.

117.   The PPM of 701 Fund provides that the Company intends to avoid registration as an

investment company pursuant to the exemption under Section 3(c)(5)(C) of the 1940 Act, which is

available for entities primarily engaged in the business of purchasing or otherwise acquiring

mortgages and other liens on and interests in real estate. The exemption generally applies if at least

55% of a company’s assets are comprised of qualifying assets and at least 80% of its assets are

comprised of qualifying assets and real estate-related assets. For these purposes, qualifying assets

generally include mortgage loans and other assets that are the functional equivalent of mortgage

loans, as well as other interests in real estate.” 701 Fund “will seek to structure the Company Loan

so that is treated as a qualifying asset under the 1940. Nevertheless, there is a risk that the Company

could be deemed to be an investment company, which would result in the dissolution of the Company.

See Exhibit 20. Defendants USIF, 701 Fund, 701 and Manager never provide any evidence that how

701 Fund meets exemption of registration from SEC beyond their verbal claim.

118.   Plaintiff learned that in May 2018 about 10 members of 701 Fund went to Qiaowai’s office in

Beijing and demanded Ding to return their investment and they would withdraw from the Company.

Under Ding’s instruction, Qiaowai rejected investors’ demand and told them to sue.

119.   Plaintiff learned that members of 701 Fund started to organize and seek independent legal

counsel. About 10 members of 701 Fund reached out to Plaintiff. Between June and September 2018,

about 12 members of 701 Fund engaged Litowitz to represent them in their demands for return of




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their investment. Plaintiff provided fraud analysis of USIF and 702 Project and assisted

communications between Litowitz and members of 701 Fund.

120.   Plaintiff discovered that on June 5 2018, Defendants sent members of the Company a Consent

Solicitation Letter for 701 TSQ 1000 Funding LLC proposing amending Operating Agreement and

authorizing Defendants unchecked discretion to redeploy investment to join 702 Project (“Proposal”

See Exhibit 21) with a voting deadline on July 5, 2018.

   •   Option 1 - I CONSENT to the Amendment Proposal and ELECT to have my capital

       contribution reinvested into Target Investments.

   •   Option 2 - I CONSENT to the Amendment Proposal and DO NOT elect to have my capital

       contribution reinvested into Target Investments (and understand that if the proposal is

       approved, I will be designated a Non-Reinvesting Member who will not earn the Current

       Return and Accrued Return and my investment may be deemed not to be “at risk” and my

       petition could be denied by USCIS).

   •   Option 3 - I DO NOT CONSENT to the Amendment Proposal and DO NOT elect to have my

       capital contribution reinvested in Target Investments (and understand that whether or not the

       proposal is approved my investment may be deemed not to be “at risk” and my petition could

       be denied by USCIS. Further, I acknowledge I may not receive a return of my capital

       contribution until such time as ALL members’ I-829 Petitions are adjudicated).

121.   As of June 2018, none of members in 701 Fund has received immigration visas as Chinese

EB-5 investors face visa backlog since May 2015. Due to Chinese Student Protection Act of 1992,

all EB-5 visas available to nationals of mainland China have been pre-approved for about 54,000

Chinese students and their family members in 1992. As result, nationals of mainland China may only

immigrate to the United States under the EB-5 program where there is insufficient demand for EB-5




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visas from other countries. Defendants USIF and 701 Fund never disclosed to members of 701 Fund

the possibility of no EB-5 visas available to some of members.

122.   Facing uncertainty of visa backlog, some members of 701 Fund decided to terminate their

immigration process. They wanted to take back their investment and exit from 701 Fund. However,

the Consent Solicitation Letter would not give exiting members an option to take back their

investment.

123.   Plaintiff discovered that on or about June 20 2018 Defendant Mastroianni sent his CFO Mark.

Giresi and USIF’s immigration counsel Mr. Donoso Ignancio to China to sell its redeployment plan.

With Ding’s instruction, Qiaowai arranged several meetings between USIF delegation and Chinese

members. USIF delegation was met with angry Chinese members who objected to the Proposal and

who demanded to withdraw from 701 Fund.

124.   Plaintiff discovered that, under such pressure, Defendant USIF sent a supplement letter on

June 25 to allow members to withdraw from 701 Fund on the condition that the exiting member must

vote to approve the Amended Operating Agreement to eliminate Defendants’ fiduciary duties and

authorize Defendants’ unchecked discretion in future investment decision.

125.   To ensure the success of redeploying $200 million to finance 702 Project, Defendants devised

an elaborate plan to counteract dissidents. Defendants set up two battle fronts to maximize votes on

Option 1 and Option 2, both of which will give Defendants the authorization to redeploy to 702

Project. Defendants USIF and Qiaowai would use scare tactic or deceit so even the exiting members

will not choose Option 3.

126.   Under information and belief, Defendants Ding and Qiaowai had their agent with WeChat ID

as “Linda” to infiltrate WeChat groups to recruit dissident members of 701 Fund away from Litowitz

and Reid & Wise and to be represented by USIF’s previous securities counsel Fieldstone. In June




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2018, a member from 701 Fund informed Plaintiff that a person with WeChat ID as “Linda” had

relentlessly discredited Plaintiff in WeChat groups, even though Plaintiff didn’t know about this

individual. Plaintiff reached out and confronted “Linda”. “Linda” claimed that Fieldstone was the

most qualified attorney and had much better qualification than Litowitz that Plaintiff worked with.

Even though Plaintiff informed “Linda” that Fieldstone was a former securities counsel for USIF and

had conflict of interests with members of 701 Fund and could not help both exiting members and

green-card seeking members, “Linda” ignored such fact and set up a WeChat group for Fieldstone

with over 125 members from 701 Fund. “Linda” arranged a video conference between Fieldstone and

potential clients from 701 Fund. As Plaintiff informed “Linda” that Litowitz would initiate a lawsuit

against Defendants USIF and 701 Fund on behalf of his clients for right of rescission and return of

capital investment plus interests and costs based on Defendants USIF and 701 Fund’s securities

violation, under information and belief, such information was passed on to Mastroianni and

Fieldstone. In June and July 2018, Mastroianni and Fieldstone colluded on the strategy to counter

demands of exiting members in term of procedures and amount of refund to the exiting members.

127.   After an article from the Real Deal on June 13, 2018 quoted Fieldstone’s statement that he

expected that most of the investors in 701 Seventh were willing to work with USIF to redeploy to

other projects, “Linda” vehemently tried to diffuse suspicion of collusion from exiting members

between Fieldstone and USIF in conjunction with Fieldstone’s junior attorney, Wen Qian.

128.   On or about June 15, 2018 Fieldstone sent retainer agreement to some exiting members of 701

Fund. See Exhibit 22. In his retainer agreement, Fieldstone didn’t disclose conflicts of interests

existing where he represent both exiting members and green card seeking members at the same time

in addition to the conflicts of interests where Fieldstone maintains close business relationship with




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USIF. Later in Aug 2018 sent a letter to New York Court in support of USIF against 100 other green

card seeking members of 701 Fund in the New York Action.

129.   When recruiting exiting members, Fieldstone made representation that he would not advise

exiting members to vote Option 2 in exchange for right to exit. Fieldstone found other provisions in

the documents that gave exiting members the right to exit.        One client found Fieldstone not

trustworthy and cancelled her agreement with Fieldstone and got her $1500 back. When some exiting

clients were angry with Fieldstone about misleading them to selection Option 2 to approve USIF’s

new operating agreement in exchange of $500,000 and started trouble with Fieldstone’s firm, “Linda”

came out to blame those angry clients for not following Fieldstone’s advice. See Exhibit 23. Another

client only discovered Fieldstone’s misrepresentation on about June 30. She also cancelled agreement

with Fieldstone but Fieldstone refused to return $1500 to her. These two exiting members eventually

retained Litowitz and Plaintiff and exited 701 Fund without taking any of USIF’s options.

130.   Between June 25 and vote deadline of July 5, 2018, Fieldstone successfully convinced two

dozens of his exiting members to vote Option 2 in support of Defendants while a dozen of his clients

refused to choose Option 2 initially. The votes of Consent were counted on July 5, 2018. However,

there was no official announcement of the results in term of number of votes for Option 1, Option 2,

Option 3 and those abstained from voting. On July 5, only news about vote count was from “Linda”,

who told WeChat group that the redeployment was approved with 236 votes. Linda’s statement was

later confirmed by Wen.

131.   On July 11. USIF made a new announcement to those requested to withdraw during the open

period to do so before July 5, saying they would issue the requisite forms and return their capital.

USIF didn’t require exiting members to vote. See Exhibit 24. With intention or gross negligence,

Fieldstone and his junior attorney Wen didn’t inform the last group of exiting clients about the




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announcement from USIF on July 11. When USIF extended deadline to July 12, Fieldstone and his

junior attorney Wen pressured once again last group of his exiting clients to choose Option 2 in

support of Defendants. Fieldstone and Wen colluded with Defendants to punish the second group of

exiting members for not making such decision on July 5 by not to return their capital after 60 days.

The first group of exiting members who chose Option 2 on July 5 received their capital within two

weeks.

132.     During the redeployment process, USIF and 701 Fund engaged a very reputable attorney,

Michael Zuppone of Paul Hastings LP of New York. With this particular announcement discovered

by Plaintiff and presented Mr. Zuppone, Litowitz and Mr. Zuppone reached an agreement to return

capital to exiting clients. Exiting clients represented by Litowitz didn’t vote on Defendants’ Proposal

and received their capital as little as in one day when USIF received the withdrawal documents.

133.     Under information and belief, Fieldstone bypassed Zuppone and worked with Mastroianni

and USIF directly even though Fieldstone knew Mastroianni and USIF were represented by Zuppone

at the time. When told that clients of Plaintiff would be receiving their capital in two weeks, Wen told

her clients some irrelevant facts about exiting clients represented by Reid & Wise not receiving their

capital soon and asked her clients to be patient. See Exhibit 25. Wen was dismissed from her firm

a few days later.

134.     Discovered that Fieldstone and Wen were soliciting clients, and some of those have already

received retainer agreements from Litowitz, Plaintiff filed a complaint with compliance attorney at

Saul Ewing Arnstein & Lehr LLP. The compliance attorney at Saul denied such allegation.

135.     Even though USIF made announcement on July 11 to those requested to withdraw during the

open period to do so before July 5 and promised to issue the requisite forms and return their capital,

USIF drafted Request to Withdraw and Consent to Withdraw documents to mislead exiting members




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to believe they would receive their capital in 30 days. Fieldstone didn’t explain to his clients that

they were not entitled to 30 days return of capital by signing USIF’s documents. Qiaowai tried to

force these documents on one of Litowitz’s client to sign documents on July 12. When the client

refused, Qiaowai contacted the client’s father in China to pressure her sign. Through WeChat Plaintiff

supported the client against pressure from Qiaowai and explained to her father that Litowitz had

reviewed the documents and the documents didn’t promise 30 days return of capital. Qiaowai’s

verbal promise would not stand in court if the client didn’t receive capital in 30 days and choose to

sue. Plaintiff stayed up to midnight to communicate Litowitz’s message to the client’s father in China.

Eventually Qiaowai backed down. Litowitz drafted Request to Withdraw and Consent to Withdraw

documents with specific condition of 30 days return of capital for his clients. USIF refused to accept

Litowitz’s Withdraw and Consent to Withdraw documents. As a fraud investigator, Plaintiff

confirmed with USIF the timeline of return of capital through email. After such confirmation,

Litowitz instructed his clients to sign USIF’s Withdraw and Consent to Withdraw documents and the

client received her capital in ONE day after USIF received her documents.

136.   Attorney Litowitz sent a demand letter before voting deadline to Defendants on behalf of 5

exiting members to request their rights of rescission of unregistered securities sold to them. These

exiting members requested refund of $550,000 of investment and interest earned on $500,000 capital

contribution.

137.   Defendants rejected the demand filed by Litowtiz. Defendants requested Litowitz and

Plaintiff’s clients to vote Alternative 2 in order to receive $500,000. Litowitz refused to such demand.

138.   On July 9 2018 more than 100 members of 701 Fun,d, represented by Reid & Wise filed a

lawsuit in New York State Court (“New York Action”) to stop their money from being redeployed

into 702 Development in the form of a $200 million preferred equity investment into the 702 Project.




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139.   The EB-5 investors allege in the lawsuit that during a recent vote on a redeployment plan,

USIF “coerced” them into choosing the option that most benefited itself. For example, the Proposal

outlined the following conflicts of interest and self-dealing by Defendants:

   •   "Conflicts of interest associated with investments in different levels of the capital structure. . . .

       [702 Fund] affiliate may manage an investment made at a different level of the project's capital

       structure, and such investment may be senior to and have rights and interests different from

       the investment made by the Company."

   •   "[T]he Manager will have interests in the [702 Project] that are different from the interests of

       the Company, and it is possible that such interests may conflict with those of the Members."

   •   "The Amended and Restated Operating Agreement has not been negotiated atarm's length.

       The Manager has developed the Amendment Proposal and has established the terms of the

       Amended and Restated Operating Agreement, which were not the result of negotiations on an

       arm's-length basis . . . . [The terms of the reinvestment] were determined by the Manager and

       are not based on a prevailing market survey or other independent criteria."

   •   "In connection with the USIF Mezzanine Loan [for 702 Project],the USIF Mezz Loan

       Manager [an affiliate of Defendants controlled by Mastroianni] would receive significant fees

       and other compensation from the New Developer or its affiliates."

   •   "The Manager may structure its financial interest in the Company so that one ormore of the

       operators of the authorized immigration agencies utilized by the Company in connection with

       the offering of Units (the "Co-Owner") "Co-Owner" [Qiaowai]participates in the distributions

       made to the Manager pursuant to the Amended and Restated Operating Agreement. The level

       of participation will be determined at the time of investment."




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   •   "The Manager may receive significant origination and other fees and other compensation from

       developers in connection with the origination of Target Investments. These fees will be

       retained by the Manager."

   •   "The Manager may pursue transactions that provide its affiliates with economic and tax

       benefits not shared with the Members."

140.   On June 25, USIF added a new interpretation to Option 2 that exiting members can receive

their capital contribution back within 30 days if they choose Option 2 to approve the Amendment.

Exiting members can contact USIF and Qiaowai directly for return of capital contribution without

representation by an attorney.

141.   Defendants engaged in scare tactics and false threats during the 701 Fund Redeployment. In

its campaign to lobby for votes, Defendants have stooped to base intimidation and clearly punitive

measures to create an inequitable "take it or leave it" situation.

142.   In a PowerPoint used to persuade investors to vote for the Proposal in June 2018 in China,

Defendants pressured the investors to vote for the proposal out of a concern that otherwise they will

notify USCIS that the investors' EB-5 capital is no longer "at risk" and that they therefore will not

receive a green card:

       "AS A REMINDER THE VOTING FORM WILL BE THE PRIMARY EVIDENCE WHEN

       FILING YOUR I-829 PETITION NEEDED TO SHOW THAT YOU HAVE SUSTAINED

       YOUR INVESTMENT AT RISK. USCIS WILL BE MADE AWARE OF YOUR CHOICE AND

       IF YOU DO NOT REDEPLOY OR FAIL TO RESPOND, THEN USCIS WILL KNOW YOUR

       CAPITAL IS NO LONGER AT RISK."

143.   The PowerPoint similarly warns investors that if they vote against the Proposal, "Your capital

will not be redeployed," and that "Investors that check box 3 or do not return a vote will have their




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capital held by the NCE [the Company} in a depository until such time all of the members I-829

petitions have been approved (per the terms of the original Operating agreement)."

144.   Similar statements were repeated throughout the solicitation materials and in emails and

WeChat messages, in which the Investors were advised that if they did not approve the Proposal, their

funds would be left in bank deposits and their capital would not be deemed "at risk" for EB-5 purposes.

For example, in an email dated June 28, 2018 from Defendant USIF to the Investors, USIF warned

the Investors that: "[W]e are writing to remind you that your voting form must be submitted in a week

by July 5, 2018. THIS DEADLINE IS FINAL and necessary to timely redeploy the funds and close

the proposed deal. Failure to respond will be deemed a "no" vote for purposes of redeploying your

funds. Final votes (or nonvotes) and supporting document will be submitted to USCIS after July 5

such that USCIS will be aware that your capital is no longer at-risk should you chose not to redeploy

yours funds or fail to timely respond." (emphasis added)

145.   In another email dated July 3, 2018, Defendant USIF made the same threat to the Investors:

"Following the conclusion of the July 5 voting, we will promptly confirm your voting selection with

you. For those who did not vote we will confirm that you chose not to sustain your investment at risk

and USCIS will be notified of the same in accordance with our reporting obligations."

146.   On July 5, 2018, the date of the voting deadline, Defendant USIF reiterated the same threat to

the Investors.

147.   Defendants’ Option 2 exacerbates the coercive nature of the consent solicitation. The coercive

nature of the consent solicitation is compounded by "Option 2," which purports to allow the investors

to request immediate withdrawal of their capital (without need to engage legal counsel), but only if

they vote in favor of the Proposal to Redeploy capital to the 702 Project.




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148.   Defendants’ Option 2 improperly tangles the investors' right to withdraw their EB-5 capital

with a vote in favor of the amendment proposal --even though these investors will have no continuing

interest in the company and no further concern regarding the safety and liquidity of the redeployed

capital. There is no legitimate reason to condition the investors' right to withdraw from the 701 Project

on a vote in favor of redeployment to the 702 Project and doing so unfairly seeks to pit the

withdrawing investors against those investors who oppose the 702 Project.

149.   Under the existing Operating Agreement, investors have a clear right to withdraw their capital

once the Developer repays the loan. Section 11.8(a)(ii) provides: "The Cash Flow that arises from

any repayment of principal under the Loan shall be allocated to the Members." Section 11.8(c)

provides: "The portion of the Cash Flow allocated to the Members under Section 11.8(a)(ii) will be

distributed to the Members in return of their Capital Contributions. These distributions will be

allocated amount [sic] the Members in proportion to the amount of their Capital Contributions."

150.   There is no legitimate reason why a vote in favor of the Proposal is required as a condition to

being permitted to withdraw. It is a purely coercive vote-grabbing ploy by Defendants.

151.   To make matters worse, Defendant USIF promised to reward those investors who voted in

favor of Option 2 and to punish investors who voted against the proposal. Thus, USIF announced that

even if the vote did not pass, investors who selected Option 2 would be permitted to withdraw in an

expedited process, whereas investors who voted against the Proposal would remain indefinitely

locked in. USIF explicitly wrote in its Supplement to the Proposal: "Even if the Amendment Proposal

is not approved, the Manager plans to exercise its discretion under the existing Operating Agreement

to permit Any Member who elects Option 2 . . . to withdraw from the Company no later than 30 days

following the repayment of the EB-5 Loan in full. . .."




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152.   Prior to the voting deadline, Defendant USIF stated that the only way to ensure the withdrawal

of the investor's capital was to vote for Option 2: "The simplest way to expedite a return of your

capital should you wish to end the EB-5 process is to vote for [Option] 2 by July 5[.]" "[F]or those of

you who vote for [Option] 2 ahead of the July 5 deadline, we anticipate a fast and easy withdrawal

process for the 100% return of your capital contribution as we have now been repaid in full by the

Developer. Refusing to vote will significantly slow down this process."

153.   There is no legitimate reason that the process of returning capital contributions to exiting

member of the Company should be "slow[ed] down" for investors who did not vote for the Proposal.

It is a transparently coercive device to garner more votes in favor of re-investing in the 702 Project.

154.   Despite announcing that they had sufficient votes for the Proposal to pass, Defendants have

refused despite request to provide the vote numbers or any other information to enable Petitioners to

assess the voting process. Under information and belief, Defendants didn’t receive over 200 votes

for Option 1 in favor of Re-investment in 702 Project on July 5 2018. Only with assistance from

Fieldstone who convinced his exiting clients to approve the Amended Operating Agreement that

Defendants used its power as Manager to force the re-investment in 702 Project.

155.   The coercive voting process was detailed in Verified Petition for an Injunction in Aid of

Arbitration filed on July 9, 2018, 4 days after voting deadline, by 124 green card seeking members of

701 Fund in SUPREME COURT OF THE STATE OF NEW YORKCOUNTY OF NEW YORK

(“New York Action”).

156.   The New York Action specifically requested an order to enjoin Defendants from carrying out

the Proposal that contained the following defects:

       -       Elimination of Fiduciary Duties

       -       Conflicts of Interest




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       -       Self-Dealing

       -       Undue Risk (in form of preferred equity) / Lack of Diversification

       -       Illiquidity

       -       Abnormally high management fees versus low return to EB-5 investors

157.   Mastroianni and USIF placated 100 members in the New York Action with half-hearted

settlement offer to redeploy their funds in the form of mezzanine loan instead of preferred equity and

New York Action was withdrawn. However, unknown to these members who filed the New York

Action, their investment was still in the form of preferred equity in 702 Project when Defendants

USIF and 701 Manager executed MEZZ Loan Agreement just three months later.

158.   Throughout the EB-5 process, Plaintiff’s clients were subject to misrepresentation and

coercion by the Defendants in

       -       Failure to provide Confidential Offering Memorandum prior to subscription

       -       Failure to inform and attempt to influence the right to be represented by independent

Chinese counsel and advisor in 2014 and 2018

       -       Coercion to sign a booklet of signature pages with not Chinese translation

       -       Coercion to be advised only by Defendants who has no qualification or registration

with SEC.

       -       Coercion to purchase limited partnership interest instead of mortgage note.

       -       Coercion to give up any control of their EB-5 investment and surrender it to

Mastroianni.

       -       Coercion to give up participation of 701 Fund’s profit

       -       Coercion to allow interest income of about $29,000 a year paid to Qiaowai while

retaining about $105 a year.




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        -       Coercion to accept return of $500,000 out of $550,000 investment and allow the

difference of $50,000 fee to Qiaowai

        -       Coercion to pay $15,000 legal fee without being fully represented by US immigration

attorneys

        -       Coercion not to sign retainer agreements directly with US legal counsel.

        -       Coercion to sign consent letter to release Defendants from any legal claim in 2018

159.    Since August 12, 2018 Plaintiff has been providing due diligence research and fraud analysis

for one re-investing member of 701 Fund, Member X. As she was represented by Litowitz instead of

Ronnie Fieldstone or Reid and Wise of New York Action, Member X was requested to sign a special

consent letter to exclude fiduciary duties of 701 Fund. Member X was a former client of Reid and

Wise of New York Action. Member X provided Plaintiff the settlement terms of New York Action.

Member X didn’t want to accept redeployment to 702 Project of the settlement term.

160.    The Consent Letter labeled as USIF Consent Form Litowitz Client provides “Capitalized

terms used herein but otherwise defined shall have the meanings ascribed to them in the Operating

Agreement of 701 TSQ 1000 Funding, LLC (the “Company”), dated July 5, 2018 (the “Operating

Agreement”). “You irrevocably and unconditionally release and discharge 701 TSQ 1000 Funding,

LLC, U.S. Immigration Fund, LLC, U.S. Immigration Fund – NY, LLC, the Developer, Escrow Agent

and their predecessors, successors, subsidiaries, affiliates, officers, directors, general partners,

managers, employees, attorneys, insurers, agents, representatives and assigns, past, present or future

(the “Releasees”) from any and all claims, losses, liabilities, obligations, suits, debts, liens, contracts,

agreements, promises, demands and damages, of any nature whatsoever, known or unknown,

suspected or unsuspected, fixed or contingent, that the Investor ever had or which were actionable

prior to the date of this Member Consent Letter, related to or arising out of the subscription




                                                                                                         52
agreement, operating agreement, escrow Agreement and the related 701 TSQ project and offering.”

This re-investing client rejected such coercive consent letter.

161.   On December 12, 2018, Defendant 701 Fund pressured Member X to sign a consent letter to

redeploy her capital to 702 Project. When Plaintiff informed USIF counsel that the investor was not

provided with the proposed MEZZ Loan agreement with 702 Developer/Borrower and could not

make any decision, USIF counsel got angry and threated to report her to USCIS if she didn’t agree to

re-investing her capital right away.

162.   On about January 12 2018, Defendants finally sent the executed MEZZ Loan agreement with

702 Developer/Borrower to Member X. Upon review, Plaintiff discovered imbedded in the new

executed MEZZ Loan agreement a scheme to rob Chinese EB-5 investors of their investment of

$494.5 millions. After communicating with the Member X, Plaintiff informed USIF that Member X

wants to go back to the financing stack of 701 Project as Member X never agreed to changing the

business scope of 701 Fund. Defendants ignore Member X’s request sent by Plaintiff.

163.   On December 12, 2018, Defendant USIF, 701 Fund and 702 Fund executed MEZZ Loan

agreement with 702 Developer/Borrower with loan term never disclosed to members of 701 Fund and

702 Fund. The MEZZ loan agreement section 19.31 provides that 701 TSQ Lender represents and

warrants to Borrower that (i) the funds used by Administrative Agent to advance Note C were

previously used by 701 TSQ Lender as a part of a loan under the EB-5 Program with respect to the

property located at 701 Seventh Avenue, New York, New York (the “701 Loan”) and (ii) all foreign

investors that were the source of the 701 Loan and whose funds are being used to fund Note C (the

“701 Investors”) have given their express approval and authorization to the use of their investment

as part of the Loan pursuant to the terms hereof. Unknown to members of 701 Fund and 702 Fund,

the MEZZ Loan Agreement permits 701 Fund and 702 Fund to have indirect equity interest in the




                                                                                                 53
EB-5 Borrower (or any indirect equity interest holder of the EB-5 Borrower) that entitles the PPCE

Holder to receive a preferred return on its equity that is prior to the common equity and to approve

customary “major decisions” but that has (a) no mandatory redemption date prior to the Extended

Maturity Date, (b) no pledge of equity or other collateral, (c) no right to cause a change of Control

of Borrower or any Guarantor, (d) remedies that, in [Senior Loan] Borrower’s reasonable discretion,

are customarily given to holders of preferred equity that is structured like debt but excluding, in all

cases, any of the remedies prohibited in clauses (a)-(c) above, and (e) all proceeds of the Permitted

Preferred Common Equity (net of out-of-pocket transaction costs and expenses) shall be contributed

to [Senior Loan] Borrower and spent on the Project. However, both PPM of 702 Fund and Settlement

Agreement of 701 Fund after New York Action require the 701 Fund and 702 Fund not to be in the

form of equity of EB-5 Borrower in that “Borrower Party” means each of (a) Borrower, Sole Member,

EB-5 Borrower, Guarantor, and any Affiliate Service Provider, (b) Fortress Investment Group LLC

or any of its Affiliates, (c) L&L Holding Company, LLC or any of its Affiliates, and, (d) so long as it

or one of its Affiliates retains an equity ownership interest in Borrower, Maefield Development

Corporation or any of its Affiliates..

164.   Defendants USIF, 701 Fund and 702 Fund fail to inform that per the MEZZ Loan Agreement

with $494.5 million commitment, EB-5 Borrower have paid $44,661,772.77 to Administrative Agent

of 701 Fund and 702 Fund on December 12, 2018, and if such payment is out-of-pocket transaction

costs and expenses for arrange the mezzanine loan for 702 Project.



                  Redeployment of AYB II Fund to Finance 702 Project in 2019



163.   About 498 Members of AYB II Fund each invested $549,000 between 2014 and 2015 in the

amount of $249 million to fund the construction of Stage B of Atlantic Yards in Brooklyn, New York


                                                                                                    54
("Atlantic Yard Project"). Unknown to members of AYB II Fund, in September 2018, the EB-5 Fund

Borrower/ AYB Developer made arrangement to sell the collateral pledged in favor of EB-5 loan to

a third party developer. Defendants USIF and AYB II Fund intentionally withheld the news

announcement made by Developer in September 2018 that they have sold some of the EB-5 loan

collateral and related construction plan to a third-party developer in deviation from the business plan

that members filed with USCIS to approve their immigration benefits. Such change of business plan

may adversely impact members’ eligibility of EB-5 immigration benefits as well as security of their

investment. Only until Jan 21, 2019 Defendants USIF and AYB II Fund notified members of AYB II

Fund their decision to grant the request of Borrower/Developer to release a lien of Lot B15 of Atlantic

Yard Project in exchange of early repayment of over $63 million that intend to be redeployed to

certain projects controlled by Mastroianni without naming 702 Project as the target project. See

Exhibit 26.

164.   Fraud Analysis conducted by Plaintiff shows Defendants USIF and AYB II Fund never

provided to Members the Confidential Private Placement Memorandum (“PPM”) date Jan 2, 2014.

Plaintiff was able to get a copy of PPM of AYB II Fund from other sources. See Exhibit 27. The

PPM is authored by no other but Ronald Fieldstone. The PPM of AYBII Fund provides AYBII Fund

has been advised, by Fieldstone preassumely, that AYBII Fund is “not an “investment company” and

is therefore exempt under the 1940 Act; however, there are no assurances that this will ultimately be

the case”. With Fieldstone as the securities counsel, Defendants USIF and AYB II Fund have

eliminated the fiduciary duty in the Operating Agreement pursuant to Section 18-1101(c) of the

Delaware LLC Act so that Defendants Mastroianni and AYB II Manager shall not owe any fiduciary

duties of any nature whatsoever to AYB II Fund and members, except Defendants Mastroianni, USIF

and AYB II Fund Manager shall be subject to the implied contractual covenant of good faith and fair




                                                                                                    55
dealing and shall not be entitled to be indemnified or held harmless due to, or arising from, fraud, bad

faith, gross negligence or willful misconduct.

165.   Under information and belief, Fieldstone advised USIF and AYB II Fund Manager in the PPM

he authored that they likely do not need to register as an “investment adviser” under the Advisers Act

because the foregoing definition of “investment adviser” likely does not apply to the Developer,

Manager and/or Regional Center with respect to the services provided by them in connection with

this Offering, including, without limitation, taking into account the fact that all investment advice

under this Offering is being provided to Members by independent, unaffiliated, third party, licensed

and bonded migration agents outside the United States. In this case, Fieldstone refers Qiaowai as

independent, unaffiliated, third party, licensed and bonded migration agents outside the United States.

Fieldstone admits that “However, there can be no assurance that such is the case and that the

Developer, Manager or Regional Center could not otherwise be deemed an “investment adviser”

requiring registration as an “investment adviser” under the Advisers Act.” Under information and

belief, Fieldstone is aware of the fact that Qiaowai is marketing agent for USIF and about 20 funds

managed by USIF.

166.   Members of AYB II Funds stated, on the day of signing the required documents in Defendant

Qiaowai’s office, that they were given only signature pages of offering documents to sign. No

Chinese translation were provided to accompany all English documents. No one informed the

members that they are entitled to independent legal counsel and or financial adviser to review these

documents before they sign. No one asked them if they are accredited investors that have one million

dollars in net assets, a requirement to purchase unregistered EB-5 securities disclosed in the PPM.

167.   Defendants USIF and AYB II Fund never informed member that the AYB II Fund

Borrower/Developer has failed to follow through the construction plan described in the Offering




                                                                                                     56
documents, even though such delays by AYB II Fund Borrower/Developer were publicly reported by

Norman Oder, a dedicated blogger on Atlantic Yard Project for over 10 years.

168.   The Jan 21, 2019 Notice made untrue statements and Defendants USIF and AYB II Fund were

not able to provide independent reports to support. Such statements include 1) “To date, 491 investors

with their family members have successfully received conditional green cards”; 2) “6,091 jobs have

been created, more than enough to satisfy removal of conditions and permanent residency for 100%

of the members in the project”; 3) “In considering the borrower’s request to release part of its lien,

the Company conducted due diligence to determine whether this sale would cause the borrower to be

out of compliance with the terms of the Loan Agreement, including the important loan to value ratio

of 80% (the “LTV Ratio”). To that end, the Company obtained a third-party appraisal to determine

the current value of the entire project and legal opinions from expert immigration counsel to determine

whether, pursuant to the terms of the Loan Agreement, the sale of parcel B15 would require the

borrower to repay a part of the principal of the Loan.” 4) We expect the balance of the loan to be

repaid upon maturity.

169.   The PPM provides that there is no guarantee that the Loan will be repaid by the Developer

or that the proceeds from the foreclosure of any of the security for the Loan will be sufficient to cover

any non-payment of the Loan.

170.   The PPM of AYB II Fund provides that (vi) the development of approximately 3.3 million

square feet of residential use and retail space to occur on the followinge parcels over the Platform:

buildings B5, B6 and B7 (over Block 1120) and buildings B8, B9 and B10 (over Block 1121). In

addition, B15 will be developed on Block 1128 on terra firma (all such buildings are reflected on the

Map of Loan Collateral attached hereto as Exhibit F). B5, B6, B7, B8, B9, B10 as well as B15 were

placed as collateral for AYB II loan. However, according to the appraisal report on Aug 17, 2018




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prior to the sale of B15 in Sept 2018, the combined value of B5, B6, B7, B8 was less than 80% of

$249 million of AYB II Loan. Defendants USIF and AYB II Fund didn’t provide explanation about

their decision to allow B15 to be sold and B9/10 were excluded from the valuation of collateral of

AYB II loan. Based on Plaintiff’s fraud analysis, B9/10 has been pledged for additional $100 million

EB-5 Funding to AYB Developer by Defendant USIF without consent by members of AYB II Fund.

171.   On February 20, 2019, Defendants USIF and AYB II Fund sent members a Redeployment

Flow Chart. See Exhibit 28. The Flow Chart shows Atlantic Yards Developer has received $542.3

million in senior loan funding. To verify such statement, a couple of members of AYB Funding 100

LLC staged a sit-in for over 20 hours in Defendant Qiaowai’s office and demanded evidence of senior

loan funding. With translation support from Plaintiff over WeChat, USIF staff stationed in Qiaowai’s

office provided a confirmation letter (See Exhibit 29) and followed up with loan application with

Citibank in 2015 (See Exhibit 30). Defendants USIF and AYB II Fund are not able to provide definite

evidence to support their representation that Atlantic Yards Developer has secured $542.3 million in

senior loan funding in their Consent Solicitation Brochure.

172.    The February 20, 2019 Redeployment Flow Chart provides four redeployment options. USIF

and AYB II Fund intentionally withheld the executed MEZZ loan agreement with 702 Developer

regarding EB-5 note holders have preferred common equity in 702 Project even though the financing

is structured as a debt and there is no collateral for EB-5 loan. See Exhibit 31.

173.   On February 20, 2019, Defendants USIF and AYB II Fund sent a notice to all investors in the

AYB 100 Fund with a link to consent solicitation package via DocuSign. Despite investors’ repeated

requests for a copy of Consent Solicitation package via email so they can send it to their legal counsels

and advisers USIF staff refused repeatedly to provide those documents with only promise to guide

the investors to how to sign consent via DocuSign. See Exhibit 32. AYB FUNDING 100 LLC




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MEMBER CONSENT LETTER. USIF staff called dissident members repeatedly to pressure them to

sign consent letters, as they have done with members of 701 Fund in 2018. USIF and AYB II steered

members into consent to redeploy in 702 Project.

174.   Since February 2019, one member of AYB II Fund engaged Attorney Janet Esagoff in the

legal actions against some of the Defendants. with assistance from Plaintiff, in New York court to

stop Defendant USIF and AYB II Fund from harassing her and other members during Consent

Solicitation and provide full disclosure of AYB Project as well as Redeployment Project. Defendants

refused. This member had to join a sit-in in Qiaowai’s office for her right to full disclosure. Again,

she was given false statement by Defendant USIF. When she demanded to exit AYB II Fund and

give up her immigration application, she was told that she could only receive 25% of $500,000 capital.

Now she is facing almost total loss of her investment that she made in 2015, when she was not

provided with any offering documents telling her such risk and she was not provided with legal

counsel nor financial adviser as Fieldstone authored in the offering documents. This is just one of

numerous false statements Defendants populate in their promotion of EB-5 investment and re-

investment. At no time Defendants speak truth about visa backlog facing by most of their investors,

that there might be no ore EB-5 visas available to Chinese EB-5 investors who filed their application

with USCIS after March 2015. Defendants USIF and AYB II Fund force at risk redeployment upon

those members who filed their immigration petitions after March 2015 to “meet EB-5 investment

requirements” even though these members may never receive EB-5 visas.

                         Malicious Prosecution Against Plaintiff in 2018



175.   In Aug 2017, Plaintiff was contacted by a member of 702 Fund to conduct fraud analysis.

Later, Plaintiff referred this member to engage Attorney London from Chicago for his demand for




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rescission of investment. In December 2017, the construction loan term sheet provided by JPMorgan

to fund 702 Development expired. Based on Plaintiff’s fraud analysis, Attorney London drafted and

sent a demand letter to Defendant Mastroianni, USIF and 702 Fund. One week later, Defendant

Mastroianni, USIF and 702 Fund granted this member right of rescission and return $500,000 capital

and $52,000 in management fee to this member. With information collected on 702 Fund and 702

Project in 2017, Plaintiff grew suspicious of the intention of 702 Developers, who in February 2018

bought 701 Lead Developer out of an uncompleted development and in May 208 made early

repayment of $200 million EB-5 loan back under the control of Defendants Mastroianni and USIF,

given the fact that 702 Fund was under-subscribed by about $200 million.

176.    In April 2018, The SLS project involved the renovation and repositioning of the Sahara Hotel

& Casino into the SLS Hoel & Casino. The project was conducted in two phases, both of which

involved an EB-5 raise of up to $200 million that was subsequently loaned to a job creating entity.

The lawsuit in question involves the second phase. The EB-5 investor-plaintiffs allege they were

defrauded, in part, through the migration agents’ marketing materials and verbal representations,

including a deceptive timeline regarding how long it would take for them to receive green cards, false

and deceptive job creation numbers and undisclosed or misrepresented uses of funds. The lawsuit

alleges that investors were defrauded through misrepresentations that EB-5 funds would only be used

for job creating activities. Investors instead claim that over $150 million of EB-5 funds were used to

pay commissions, fees, salaries and other expenses that were unrelated to job creating activities.

Plaintiff saw similarity between SLS and 702 Development in relation of use of EB-5 financing.

Plaintiff announced her concerns on WeChat to members of 701 Fund.

177.   After three of Litowtz’s clients received their capital facilitated by Plaintiff, USIF’s in-house

counsel Jason Metula contacted Plaintiff and requested Plaintiff to remove the reference of USIF and




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Qiaowai from Reviv-East website that described a member of 702 Fund received $552,000 back from

USIF and Qiaowai. Out of courtesy Plaintiff took the reference of USIF off but refused to take off the

reference of Qiaowai. Reviv-East is a Hong Kong company that Plaintiff was an independent

contractor to conduct due diligence.

178.   A few days later, Plaintiff received a Cease and Desist Letter from the in-house counsel,

Ashley Flucas, of Defendants USIF and 701 Fund even though at the time, Defendants USIF and 701

Fund were represented by Michael Zuppone of Paul Hastings LP. Plaintiff told Defendants that they

can sue Plaintiff in Chicago, where she lives.

179.   On October 4, 2018 Defendants USIF and 701 Fund filed a lawsuit against Plaintiff, Litowitz

as well Reviv-East in New York Court alleging Litowitz and Plaintiff set up Reviv-East in 2017 to

defraud Defendants USIF and 701 Fund. This lawsuit is an attempt by Defendants USIF and 701

Fund and Richard Haddad to weaponize the law and use it to silence their critics and confuse

unsophisticated EB-5 investors who are subjects of Defendants’ tyranny. Their lawsuit was thrown

out of court by New York Judge on March 29.

180.   The lawsuit has been vexatious, frivolous, and improper at every word. Defendants’ fraud and

defamation claims rest upon their failure to do basic fact-finding research, their lack of competence

and lack of professionalism. Defendants possess no evidence that Plaintiff and Litowitz together

established Reviv-East in January 2018.     Defendants alleged that over 70 members exited of 701

Fund as result of actions of Litowitz and Plaintiff. However Defendants presented no evidence that

as many as 70 investors retained Litowitz and assisted by Plaintiff to request to withdraw from 701

Fund between June and September 2018. Under information and belief, Defendants USIF and 701

Fund and their current attorney Richard Haddad of Otterbourg had obtained from Hong Kong a copy

of corporate record of Reviv-East. See Exhibit 30. Yet, Defendants USIF and 701 Fund and Richard




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Haddad fabricated the relationship between Plaintiff and Litowitz and Reviv-East based using

statements by “Linda” who had made some comment to Plaintiff just a few months before. Despite

the fact that the corporate records showed that Plaintiff and Litowitz don’t have ownership in Reviv-

East, Defendants USIF and 701 Fund and Richard Haddad filed a “Verified Complaint” based on

Plaintiff and Litowitz’s ownership of Reviv-East. The Verified Complaint made the reference about

Qiaowai being named on Reviv-East website.

182.   In the lawsuit Defendants USIF and 701 Fund and Richard Haddad alleged that Plaintiff

breached the withdrawal agreement with an exiting member of 701 Fund. Defendants USIF and 701

Fund and Richard Haddad are fully aware that Plaintiff is not a signature party to the withdrawal

agreement. Defendants USIF and 701 Fund and Richard Haddad chose not to sue the exiting member

of 701 Fund that they made reference to in the Verified Complaint. Defendants USIF and 701 Fund

and Richard Haddad alleged in their lawsuit that Plaintiff breached the Attorney’s Confidentiality

Agreement. Again, Defendants USIF and 701 Fund and Richard Haddad are fully aware that Plaintiff

is not a signature party to the confidential agreement. Defendants USIF and 701 Fund and Richard

Haddad could not exclude the possibility that a former member, Member X, of New York Action

provided the settlement agreement to Plaintiff to conduct due diligence.

183.   Defendants USIF and 701 Fund and Richard Haddad alleged in their lawsuit that Plaintiff’s

warnings about USIF, 702 Fund and 702 Project were lies but failed to provide any evidence to

support their version of facts. All Plaintiff’s statement about USIF, 702 Fund and 702 are supported

with evidence included in this RICO complaint.

184.   Defendants USIF and 701 Fund and Richard Haddad alleged that as many as 70 investors

exited from 701 Fund as result of Plaintiff’s action, however, they intentionally neglected to inform




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the Court that about 40 out of 70 exiting members were actually represented by USIF’s former

securities counsel Fieldstone, with who, they devised the procedure and return of withdrawal process.

185.   A few days before Defendants USIF and 701 Fund and Richard Haddad filed an Amended

“Verified” Complaint, nearly 80 Chinese investors have filed suit against Defendant Mastroianni in

Florida court alleging he defrauded them of their EB-5 investments. See Exhibit 34.

186.   Defendants USIF and 701 Fund and Richard Haddad are fully aware that Plaintiff has no asset

or business connection in New York and New York court would have no jurisdiction over Plaintiff in

their lawsuit. Regardless of their advertised knowledge and experience in law, Defendant Richard

Haddad, on behalf of Defendants USIF and 701 Fund, insisted to file this malicious lawsuit against

Plaintiff in New York Court as a schilling effect to scare and prosecute any critics and investors, in

particular, of Defendant Mastroianni and USIF.

187.   Defendants USIF and 701 Fund and Richard Haddad executed a contract and paid for a service

processor to deliver the Amended “Verified” Complaint to Plaintiff in her residence in Chicagoland.

188.   The lawsuit filed by Defendants serves no purpose but to assassinate Plaintiff’s reputation and

business as Plaintiff is the only person in the EB-5 industry who advocated rights of Chinese EB-5

investors. In October 2018, Plaintiff staged a one-person demonstration against USCIS’s At-Risk

policy during the 2018 AILA & IIUSA EB-5 Industry Forum in Chicago.



                         Defamation Against Plaintiff in 2018 and 2019



189.   To coordinate a scheme to eliminate Plaintiff as an advocate for EB-5 investors and a critic of

Defendants as well as a precedent case for future disputes with over 5,000 Chinese EB-5 investors

from whom Defendants Mastroianni and Ding raised $2.9 billions of investment, Defendants used

“Linda” as an agent to infiltrate Chinese EB-5 WeChat groups to discredit Plaintiff and to draw



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Chinese investors away from being represented by Litowitz. Colluded with Fieldstone, Defendants

together successfully sabotaged Litowitz’s plan to enforce investors’ right of rescission by filing a

lawsuit in New York court for securities violations.

190.   Under information and belief, Defendants are furious that Plaintiff has obtained the executed

702 MEZZ Agreement and disclose specifics of 702 MEZZ Agreement to members of 701 Fund and

702 Fund.     Defendants have been keeping the information from members of 701/702 Fund.

Defendants’ in-house counsel told Plaintiff that Plaintiff was the only one who has requested to see

the executed MEZZ agreement for due diligence. Under information and belief, Defendants are

furious that Plaintiff launched a fierce defense as a pro se defendant against Defendants’ malicious

prosecution in New York Court. Realized that Defendants’ lawsuit has not deterred members of 702

Fund from using Plaintiff’s investigative service and attorney referral service, On Feb 4, 2019,

Defendants sent a letter to members of 702 Fund and spread lies that Plaintiff.

191.   After the New York Court threw out the frivolous and malicious lawsuit filed by Defendants

USIF and 701 Fund, Defendants USIF and 701 Fund and Richard Haddad started a campaign of lies

about Plaintiff out of their humiliated defeat. In April 2019 Defendant Haddad has contacted at least

of one of Plaintiff’s acquaintance in Chicago to spread lies about Plaintiff.

192.   For a seasoned attorney, in the lawsuit against Litowitz and Plaintiff, Haddad intentionally

twisted a rejected century old legal argument that attorney is legal representative to insert Litowitz

and Plaintiff into New York jurisdiction. Now Haddad tries to confuse legal information that Plaintiff

provides to her clients with legal service that Litowitz and other attorneys provide to these clients.

193.   For the past 5 years, Plaintiff provides investigative research of EB-5 scams and she is nothing

more than Dr. Bull of EB-5 to inform Chinese EB-5 and the public the EB-5 scams that described in

the Investment Alert issued by SEC and USCIS in 2013., As an EB-5 activist Plaintiff wants to raise




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the awareness of Chinese EB-5 investors’ plight and, with legal service provided US attorneys to the

defrauded Chinese EB-5 investors, Plaintiff wants to prove to Chinese investors that America is a

land of law and no one is above the law when it comes to fraud.



  Diversion and Conversion of Exiting Investors’ Administrative Fees and Interests Caused

                               Loss of Income to Plaintiff in 2018



194.   Defendants’ EB-5 fund-raising displays all the hallmark signs of EB-5 scams described the

Investor’s Alert issued by SEC and USCIS in the 2013.

   •   Defendants Mastroianni and Ding promised that members of 701 Fund, 702 Fund, and AYB

       II Fund to receive immigration visas in 1-3 years. However, none of investors that contacted

       Plaintiff has received immigration visas after over 4 years of investment.

   •   Defendants Mastroianni and Ding guaranteed investment returns or no investment risk during

       the road show promotion in China and in their Chinese marketing brochures. Chinese

       investors were led to believe that they gave up only the interest income in exchange of US

       green cards for a whole family and their capital would be returned in five years.

   •   Defendants Mastroianni and Ding had sold unregistered investments through public

       advertising and promotion to unsophisticated Chinese public that claims to meet Regulation

       D and Regulation S Defendants Mastroianni and Ding intentionally failed to provide complete

       offering documents, such as risk disclosures, operating agreement, subscription agreement,

       accredited investor questionnaire, to Chinese investors before they made investment. No

       Chinese translation was provided to investors who don’t read English.




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   •   Defendants Mastroianni and Ding are unlicensed sellers in China and in the US. Defendant

       Ding and Qiaowai registered their business as providing immigration consulting service to

       Chinese consumers and don’t possess registration for investment brokerage and advisory,

       contrary to what Fieldstone claimed in the offering documents he authorized.

   •   Defendants Mastroianni and Ding never disclosed to Chinese investors that every EB-5 funds

       they invested are issued and controlled by Mastroianni using his layers of shell companies.

       Chinese investors don’t hold mortgage note with the EB-5 projects as they believed.

       Information about Mastroianni’s checkered background such as his felony charges,

       bankruptcies, and lawsuits were withheld from EB-5 investors.

195.   Defendants Mastroianni and Ding are fully aware that, due to their misrepresentation, Chinese

investors are entitled to rescission rights that Chinese investors will receive $500,000 capital

contribution, $49,000 to $52,000, interests, and other costs. On such belief, Defendants Mastroianni

and Ding returned $552, 000 to one member of 702 Fund in December 2017.

196.   Under information and belief, in June and July 2018, Defendants Mastroianni and Ding

colluded with Fieldstone and devised a scheme to deny exiting members of 701 Fund the return of

their full investment plus 3.5 years’ interest income. Defendants Mastroianni and Ding successfully

recruited about 40 members of 701 Fund to be represented by Fieldstone as a leverage against exiting

members of 701 Fund represented by Litowitz assisted by Plaintiff. As a result, even though Litowitz

demanded return of full investment of $550,000 plus 3.5 years’ interest income on behalf of his clients,

these clients were not as successful as the one member of 702 Fund in December 2017. Each exiting

member eof 701 Fund loss $50,000 administrative fee and 3.5 years of income without receiving the

immigration visas that Defendants Mastroianni and Ding promised. Under information and belief

most of $50,000 administrative fee and half of 3.5 years of income were diverted into the possession




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by Defendants Ding as transaction-based fee for placing investors in 701 Fund in 2015 and so-called

investment advisory fee to investors for 3.5 years. As Litowitz and Plaintiff were contracted to

receive compensation primarily based on return of the $50,000 administrative fee and 3.5 years of

income, Plaintiff lost about $120,000 in service fee as result of conversion by Defendants Mastroianni

and Ding.

197.   Under information and belief, Defendants Mastroianni and Ding conspire with 702 Developer

and AYB Developer to convert EB-5 investment into their piggy bank with no intention to return EB-

5 investment to Chinese EB-5 investors, even though these Chinese EB-5 investors may never see

the immigration visas they dream of and have paid over $550,000 for. Defendants’ deceptive scheme

was fully illustrated in the lawsuit filed against Defendant Mastroianni in Florida court in October

2018 by nearly 80 Chinese investors alleging Mastroianni, by using financing maneuvers, defrauded

them of their EB-5 investments of $500,000 each. See Exhibit 31. Those 80 investors are considered

lucky ones as they all become US permanent residents since 2012. The members of 701 Fund and

702 Fund may see their worst nightmare when they lose all their EB-5 investment without receiving

immigration visas in their life time.



                                        The RICO Enterprise

198.   For any Racketeer Influenced and Corrupt Organization case, it is important to distinguish

between legitimate organizations, businesses, and even government offices and the abuse of those

entities for illegal purposes by the unofficial, corrupt “enterprise.”

199.   This pattern of illegal activities committed by the Defendants, the “Predicate Acts,” discussed

below, were done with the purpose of financial gain at the expanse of activists like Plaintiff in addition

to EB-5 investors and were done within the past 5 (5) years and continuing.




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200.    By the acts alleged herein, Defendants, each and every one of them, jointly and severally,

have aided and abetted and conspired to violate US laws, through their ongoing criminal enterprise

as set forth below.

201.    The law presumes generally that people intend the obvious results of their actions.



IV.     CAUSES OF ACTION


                                   FIRST CAUSE OF ACTION
Conduct and Participation in a RICO Enterprise through a Pattern of Racketeering Activity:
                                   18 U.S.C. §§ 1961(5), 1962(c)
  (Defendants USIF, Mastroianni, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702
                          Fund Managers, AYB II Fund, AYB II Manager,
                                    Ding, and Qiaowai entities)


202.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

203.    There are 5 elements of a Claim under § 1962(c): 1) That an enterprise existed; 2) That the

enterprise affected interstate or foreign commerce; 3) That the defendants were associated with or

employed by the enterprise; 4) That the defendants engaged in a pattern of racketeering activity or

the collection of an unlawful debt; and 5) That the defendants conducted or participated in the conduct

of the enterprise through that pattern of racketeering activity. Alcorn County v. United States, 731

F.2d 1160 (5th Cir. 1984). United States v. Philips, 644 F.2d 971 (5th Cir. 1981), cert. denied, 457

U.S. 1136 (1982). Alexander Grant & Co. v. Tiffany Industries, Inc., 770 F. 2d 717 (8th Cir. 1985).

204.    Each Defendant is a "person" capable of holding legal or beneficial interest in property within

the meaning of 18 U.S.C. § 1961 (3).




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205.   Each Defendant violated 18 U.S.C. § 1962(c) by the acts described in the prior paragraphs,

and as further described below.

206.   Definition of the Enterprise Defendants Mastroianni and Ding, together with (1) the

Mastroianni-controlled companies, (2) Ding-controlled companies, (3) employees, officers and

directors of Mastroianni-controlled companies (including Mark Giresi, CFO of USIF), (4) employees,

officers and directors of Ding-controlled companies, and (5) legal counsels and business partners of

Defendant Mastroianni and Defendant Ding and businesses controlled by them, form an association-

in-fact for the common and continuing purpose to prosecute and slander Plaintiff in addition to

interfering Plaintiff’s business relations with Chinese EB-5 investors in their request to recover losses

from securities sold by Defendants 701 Fund, 702 Fund and AYB II Fund and constitute an enterprise

within the meaning of 18 U.S.C. § 1961(4). These people formed the enterprise characterized by (1)

a common purpose, 2) an ongoing formal or informal organization, and 3) members of the enterprise

functioned as a continuing unit with an ascertainable structure separate and distinct from that of the

conduct of the pattern of racketeering activity. There may also be other members of the enterprise

who are unknown at this time. The enterprise continued in an essentially unchanged form since 2010

when USIF was approved by USCIS as a designated regional center until present. United States v.

Turkette, 452 U.S. 576 (1981). United States v. Errico, 635 F. 2d 152 (2d Cir. 1980), cert. denied,

453 U.S. 911 (1981).

207.   Alternatively, the Mastroianni and Ding-controlled companies each constitute a separate

enterprise within the meaning of 18 U.S.C. § 1961(4).

208.   Alternatively, the Mastroianni and Ding-controlled companies together constitute an

enterprise within the meaning of 18 U.S.C. § 1961(4).




                                                                                                      69
209.    Interstate or Foreign Commerce Each enterprise itself has engaged in, and the racketeering

activities of those associated with the enterprise had impact on interstate and foreign commerce.

Defendants Mastroianni and his entities are Florida based individual and businesses, engaged Richard

Haddad from a New York law firm, contracted service processor to deliver summon to Plaintiff in

Chicago area. Defendants induced Plaintiff’s clients, who are foreign investors, to invest in securities

sold by 701 Fund, 702 Fund, AYB II Fund to finance 702 Project and AYB Project in New York City.

Defendants Ding and her entities engage business activities both in China and in the US, have Chinese

agent discredit Plaintiff in WeChat groups to draw investors away from Plaintiff and US attorneys

that she refers. Defendants directly and indirectly made use of the means and instrumentalities of

interstate or Foreign commerce and of the mails in connection with the acts, practices, and courses of

business alleged herein, and will continue to do so unless enjoined.

a.      Defendants signed contracts in Florida, filed legal documents in New York, arranged service

processors in Illinois in relation to the malicious prosecution of Plaintiff.

b.      Defendants arranged wires to transfer money in in relation to the malicious prosecution of

Plaintiff;

c.      Defendants sent their agent and delivered false evidence to at least one individual in Chicago

in an attempt to slander Plaintiff;

d.      Plaintiff’s clients are instructed to execute a subscription agreement, and/or consent letters,

and send to the Defendants in the U.S. to facilitate conversion of investment;

e.       Defendants-U.S. residents-have sole discretion whether to accept or reject Plaintiff’s clients’

subscription agreement and consent letter;

f.      Plaintiff’s clients are instructed to wire funds to an escrow agent in the U.S. or wire refund

from a bank in the US.;




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g.      Sales and redemption were not final until approved by the sponsors-residents of the United

States-and payment is wired between Plaintiff’s clients’ bank account and a U.S.-based bank

controlled by Mastroianni.

210.   The racketeering activities were conducted by the defendants, and these acts are those of the

enterprise and affected interstate commerce and foreign commerce. United States v. Banton, 647

F.2d 224 (2d Cir), cert denied, 454 U.S.857 (1981). United States v. Bagnariol, 665 F.2d 887 (9th

Cir. 1981), cert, denied, 456 U.S. 962 (1982).

211.    Association with the Enterprise The Defendants are associated with or employed by the

enterprise. The defendants know the enterprise and understand the nature of the activities of the

enterprise. United State v. Castellano, 610 F. Supp. 1359 (S.D.N.Y. 1985).

212.    Pattern of Racketeering Activity. Defendants engaged in the conduct of their affairs

through a continuing pattern of racketeering activity and did knowingly, willfully and unlawfully

conduct or participate, directly or indirectly, in the affairs of the enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. §1961 (1), 1961 (3), and l962(c). Plaintiff has

discovered that, since at least 2014, the Defendants 1) made false claim about the at-risk nature of

EB-5 investment and visa backlogs; 2) induced Plaintiff’s clients to wire about $550,000 to accounts

controlled by Defendants and to pay transaction based fees to Defendants without full disclosure; 3)

doctored executed subscription agreement and operating agreement as well as I-526 petition form

submitted to USCIS with only signature pages of Plaintiff’s clients; 4) forced Plaintiff’s clients to

give up participating in income of 701 Fund and 702 Fund; 5) coerced Plaintiff’s clients to sign

consent letters to release Defendants USIF’s liabilities and to give up claim to $50,000 administrative

fee and interest income of $88,000 in exchange to return of $500,000 in 2018, causing Plaintiff unable

to collect compensation; 6) filed malicious lawsuit and prosecuted Plaintiff for her criticism of




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Defendants’ deceptive activities in 2018, 7) coerced Plaintiff’s clients to terminate business

relationship with Plaintiff in negotiation of withdraw from 702 Fund controlled by Mastroianni; 8)

spread lies about Plaintiff to EB-5 investors and, starting April 2019 after Plaintiff defeated

Defendants in New York court, to Plaintiff’s acquaintance in Chicago. Defendants used 1) the mails

to submit false documents to Plaintiff’s clients and USCIS, 2) Defendants used interstate “wires” –

primarily emails – in connection with the racketeering activity and fraud. Thus, Defendants violated

the mail fraud and wire fraud provision of the federal criminal law.

213.    The Defendants conducted or participated in the conduct of the enterprise through that pattern

of racketeering activity. The racketeering activity was made possible by Defendants' regular and

repeated use of the facilities and services of the enterprise. Defendants had the specific intent to

engage in the substantive RICO violation alleged herein.

214.    Predicate acts of racketeering activity are acts that are indictable under provisions of the U.S.

Code enumerated in 18 U.S.C. §1961(I)(B), as more specifically alleged below. Defendants each

committed at least two such acts or else aided and abetted such acts.

215.    Relationship among Racketeering Acts The acts of racketeering were not isolated, but

rather the acts of Defendants were connected by a common scheme, plan, or motive. These acts were

related in that they had the same or similar purpose and result, participants, victims and method of

commission. Further, the acts of racketeering by Defendants have been continuous. There was

repeated conduct during a period of time beginning as early as 2010 when USIF was approved by

USIF as a designated regional center and continuing to the present, and there is a continued threat of

repetition of such conduct. Sedima, S.P.R.L. v Imrex Co., 105 S. Ct. 3275 (1985). United States v.

Brooklier, 685 F.2d 1208, 1222 (9th Cir. 1982).




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216.        Conducting the Enterprise through a Pattern of Racketeering Defendants used their

positions in the enterprise facilitated their commission of the racketeering acts and that the

racketeering acts had some impact and effect on the enterprise. The Defendants were able to commit

the acts solely by virtue of their position or involvement in the affairs of the enterprise. United States

v. Scotto, 641 F.2d 47 (2d Cir, 1980), cert. denied, 452 U.S. 1961 (1982). United States v. Provenzano,

688 F.2d 194 (3d Cir.), cert. denied, 459 U.S. 1079 (1982). United States v. Cauble, 706 F.2d 1322

(5 th Cir. 1983), cert. denied, 104 S. Ct. 996 (1984).

217.        The association-in-fact enterprise and the alternative enterprises, as alleged herein, were not

limited to the predicate acts and extended beyond the racketeering activity. Rather, they existed

separate and apart from the pattern of racketeering activity for the legitimate business purpose of

assisting Plaintiff’s clients to apply for immigration benefits. Upon information and belief,

Defendants have had and do have legitimate business plans outside of the pattern of racketeering

activity.

218..       Plaintiff specifically alleges that Defendants participated in the operation and management

of the association-in-fact enterprise and the alternative enterprises by overseeing and coordinating the

commission of multiple acts of racketeering as described below.

219.        Predicate Act: Use of Mails and Wires to Injure Plaintiff in Violation of 18 U.S.C. §5

1341 and 1343. Defendants committed acts constituting indictable offenses under 18 U.S.C. § 1341

and 1343 in that they devised or intended to devise a scheme or artifice to interfere Plaintiff’s clients’

business relationship with Plaintiff and cause Plaintiff financial loss by means of false or fraudulent

pretenses, representations or promises. For the purpose of executing their scheme or artifice,

Defendants caused delivery of various documents and things by the US. mails or by private or

commercial interstate carriers, or received such therefrom. Defendants also transmitted or caused to




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be transmitted by means of wire communications in interstate or foreign commerce various writings,

signs and signals. The acts of Defendants set forth above were done with knowledge that the use of

the mails or wires would follow in the ordinary course of business. or that such use could have been

foreseen, even if not actually intended. These acts were done intentionally and knowingly with the

specific intent to advance Defendants' scheme or artifice.

220.    Defendants carried out their scheme in different states and countries and could not have done

so unless they used the U.S. mails or private or commercial interstate carriers or interstate wires. In

furtherance of their scheme alleged herein, Defendants Mastroianni and Ding communicated among

themselves and with Plaintiff’s clients in furtherance of the scheme to interfere with business

relationship between Plaintiff and her clients and cause her financial loss. These communications

were typically transmitted by wire (i.e., electronically) and/or through the United States mails or

private or commercial carriers. Defendants also transmitted or caused the Letter and Agreements to

be transmitted by mail or wire between 2014 and 2019.

221.   After Defendants coerced Plaintiff’s clients to sign consent letter and imposed a loss of over

$100,000 for each of Plaintiff’s 12 clients between August to December 2018, Defendants finally

transmit to each of 12 Plaintiff’s clients $500,000 of dollar in fund by wire from bank accounts in the

United States controlled by Mastroianni. As a result, Plaintiff lost $10,000 in consulting fee from

each of her 12 clients.

222.   Defendants filed a malicious lawsuit to prosecute Plaintiff in New York court in October 2018

solely to weaponize law to assassin Plaintiff’s reputation and business. Defendants used this lawsuit

in their communications with their investors to legalize their slanderous statements against Plaintiff

and deter EB-5 investors from using Plaintiff’s service. Plaintiff was informed that some investors

in EB-5 funds managed by Defendants are reluctant to work with Plaintiff. As Defendants claim to




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manage $2.9 billions of EB-5 investment from over 5,000 EB-5 investors, Plaintiff is projected to

suffer $50 million from loss of business as Plaintiff charge $10,000 per investor for fraud analysis

service.



Predicate Act: Transport and Receipt of Stolen Money in Violation of 18 U.S.C. §2314 and 2315.

223.   Defendants committed acts constituting indictable offenses under 18 U.S.C. §2314 in that

having devised or intended to devise a scheme or artifice to defraud Plaintiff and her clients or to

obtain money from Plaintiff and her Plaintiff and her clients by means of false or fraudulent pretenses,

representations or promises, Defendants transported or caused to be transported in interstate or foreign

commerce money having a value of $5000 or more, which was stolen, converted or taken by fraud.

Defendants also committed acts constituting indictable offenses under 18 U.S.C. §2315 in that they

received money in excess of $5000, which crossed a State or United States boundary after being

stolen, unlawfully converted or taken. The acts of Defendants set forth above were done willfully and

with knowledge that the money was stolen, converted or taken by fraud. These acts were done

intentionally and knowingly with the specific intent to advance Defendants' scheme or artifice.

224.   Defendants Mastroianni and Ding are fully aware that, due to their misrepresentation, Chinese

investors are entitled to rescission rights that Chinese investors will receive $500,000 capital

contribution, $49,000 to $52,000, interests, and other costs. On such belief, Defendants Mastroianni

and Ding returned $552, 000 to one member of 702 Fund in December 2017. Under information and

belief, in June and July 2018, Defendants Mastroianni and Ding colluded with Fieldstone and devised

a scheme to deny exiting members of 701 Fund the return of their full investment plus 3.5 years’

interest income. Defendants Mastroianni and Ding successfully recruited about 40 members of 701

Fund to be represented by Fieldstone as a leverage against exiting members of 701 Fund represented




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by Litowitz assisted by Plaintiff. As a result, even though Litowitz demanded return of full

investment of $550,000 plus 3.5 years’ interest income on behalf of his clients, these clients were not

as successful as the one member of 702 Fund in December 2017. Each exiting member of 701 Fund

loss $50,000 administrative fee and 3.5 years of income without receiving the immigration visas that

Defendants Mastroianni and Ding promised.

225.   Under information and belief most of $50,000 administrative fee and half of 3.5 years of

income were diverted into the possession by Defendants Ding as transaction-based fee for placing

investors in 701 Fund in 2015 and so-called investment advisory fee to investors for 3.5 years. As

Litowitz and Plaintiff were contracted to receive compensation primarily based on return of the

$50,000 administrative fee and 3.5 years of income, Plaintiff lost about $120,000 in service fee as

result of conversion by Defendants Mastroianni and Ding. Upon information and belief Mastroianni

and Mastroianni-Controlled companies, along with Ding, and Ding-controlled companies, also

ensured that would receive transaction-based fees of $50,000 and interests earned on $500,000 at

about 5.9% rate for four years from, directly and indirectly from Plaintiff and her clients invested in

701 Fund and 702 Fund while knowing that a portion of such money would be placed outside of US

to avoid taxation by IRS. PPM of 701 Fund and 702 Fund provide that Plaintiff’s clients may receive

phantom income on that portion of the interest income received by Defendants which is (i) used to

pay for operating expenses (including fees payable to foreign agents, the Regional Center and/or

Manager, collective the Defendants) and (ii) not distributed to the Members.



Predicate Act: Travel in Furtherance of Scheme to Defraud in Violation of 18 U.S.C. §1952.


226.   Defendants committed acts constituting indictable offenses under 18 U.S.C. § 1952 in that,

having devised or intended to devise a scheme or artifice to defraud Plaintiff and her clients or to



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obtain money from Plaintiff and her clients by means of false or fraudulent pretenses, representations

or promises, Defendants then traveled in foreign commerce and used facilities of foreign commerce

in order to promote, manage and facilitate the continuation of their scheme. Among other things, upon

information and belief, in 2014, 2016, and 2018 Defendant Mastroianni and Defendant Ding on behalf

of themselves and other Defendants, traveled to China and hosted roadshows with the intent to

promote, manage and facilitate the Defendants' scheme to defraud Plaintiff and her clients by inducing

EB-5 investors to invest in 701 Fund and 702 Fund as well as to for 701 investors re-invest their

capital in 702 Project in 2018. In 2018, Attorney Richard Haddad, as a proxy of Defendants who do

business in Florida, filed lawsuit against Plaintiff in New York and arrange a process serve to deliver

summon to Plaintiff in Illinois. In 2019, Attorney Richard Haddad sent a proxy to Chicago to deliver

slanderous information to Plaintiff’s acquaintance.

227.    Continuity of Conduct. Defendants' violations of state and federal law as set forth herein,

each of which directly and proximately injured Plaintiff in addition to other EB-5 investors,

constituted a continuous course of conduct which was intended to obtain money through malicious

prosecution, false representations, fraud, deceit, and other improper and unlawful means. Therefore,

said violations were a part of a pattern of racketeering activity under 18 U.S.C. §1961(l) and (5).

228.    Upon information and belief, Defendants have conducted and/or participated, directly and/or

indirectly, in the conduct of the affairs of the alleged enterprises through a pattern of racketeering

activity as defined herein in violation of 18 U.S.C. § 1962(c).

229.    The unlawful actions of Defendants, and each of them, have directly, illegally, and

approximately caused and continue to cause injuries to Plaintiff in addition to EB-5 investors. Plaintiff

seeks an award of damages in compensation for, among other things, $50 million in projected loss of

business arising from the malicious prosecution and defamation since October 2018 as well as




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$120,000 Defendants converted from Plaintiff when Defendants coerced each of her 12 clients to sign

Consent Letter in August to December 2018 to give up claims of $50,000 administrative fee plus

$88,000 in interest income on their $500,000 capital investment.

230.    Plaintiff accordingly seeks an award of three times the damages it sustained, and the recovery

of reasonable attorneys' fees and costs of investigation and litigation, as well as any other relief as

authorized by statute.



                                  SECOND CAUSE OF ACTION
                   Conspiracy to Engage in a Pattern of Racketeering Activity:
                                    18 U.S.C. § 1961(5), 1962(d)
  (Defendants USIF, Mastroianni, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702
                          Fund Managers, AYB II Fund, AYB II Manager,
                                     Ding, and Qiaowai entities)



231.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

232.    Elements of Conspiracy In violation of 18 U.S.C. § 1962(d), the Defendants Ding, Qiaowai,

Mastroianni, USIF, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702 Fund Managers, AYBII

Fund, AYBII Manager, and each of them, knowingly, willfully, and unlawfully conspired to facilitate

a scheme which included the operation or management of a RICO enterprise through a pattern of

racketeering activity as alleged in paragraphs 130-160 above. United States v. Boffa, 688 F.2d 919

(3d Cir. 1982), cert. denied, 103 S. Ct. 1272, 1280 (1983). United States v. Elliott, 571 F. 2d 880 (5th

Cir.), cert. denied, 439 U. S. 953 (1978).

233.    The Commission of Racketeering Acts The Defendants agreed to participate in the affairs

of the enterprise through a patter of racketeering activity. By actually committing two or more



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racketeering acts the defendants have shown that they agreed to participate in the affairs of the

enterprise through a pattern of racketeering activity. United States v. Elliott, 571 F.2d 880 (5th Cir.),

cert. denied, 439 U.S. 953 (1978). The conspiracy commenced specifically in Jan and June 2014 when

Defendants and their representatives organized and hosted roadshows to promote AYB II Fund and

701 Fund to Chinese EB-5 investors and made no mention that investment in AYBII Fund and 701

Fund was securities and at risk for total loss. The conspiracy repeated in June 2016 when Defendants

and their representatives organized and hosted roadshows to promote 702 Fund to Chinese EB-5

investors and made no mention that investment in 702 Fund was securities and at risk for total loss.

The conspiracy continued in May 2018 when Defendants and their representatives announced to 701

Fund investors to re-invest their capital in 702 without disclosing securities violations committed by

Defendants. Defendant Ding and Qiaowai used an agent “Linda” infiltrated WeChat of members of

701 Fund and started campaign to smear Plaintiff’s reputation and recruit clients for Defendant

USIF’s former securities counsel, Fieldstone, away from independent securities attorney, Litowitz,

that Plaintiff referred to some members of 701 Fund. Later Defendants coerced exiting members of

701 Fund to sign consent letters to give up claims to $50,000 in administrative fee and $88,000 of

interest income. The conspiracy continued in October 2018 when Defendants filed a malicious lawsuit

against Plaintiff in New York court to assassin Plaintiff’s reputation and business. Between February

and April 2019 Defendants and Richard Haddad started a campaign of lies about Plaintiff out of their

humiliated defeat in New York court. Defendant Haddad has contacted at least of one of Plaintiff’s

acquaintance and told this individual that this Court has determined that Plaintiff has violated law by

providing legal service illegally. The conspiracy's purpose was to deny Chinese EB-5 investors’ right

of full risk disclosure and fraud analysis provided by Plaintiff and induce Chinese investors to re-

invest in securities without independent advisors and legal counsels, in violation securities regulations




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of China and US. By sending the “Zoe Letter” to members of 702 Fund and interfere with business

relationship between Plaintiff and her clients, Defendants try to deprive EB-5 investors of

independent due diligence research critical to interests of EB-5 investors of 702 Fund or other funds

controlled by Defendants.

234.   Agreement to Commit Two or More Racketeering Acts Defendants agreed to participate

in the affairs of the enterprise by personally committing two or more racketeering acts to further the

affairs of the enterprise through a pattern of racketeering activity. United States v. Winter, 663 F.2d

1120 (1st Cir. 1981). United States v. Phillips, 664 F. 2d 971 (5 th Cir. 1981), cert, denied, 457 U.S.

1136 (1982). in October 2018 when Defendants filed a malicious lawsuit against Plaintiff in New

York court to assassin Plaintiff’s reputation and business. Between February and April 2019

Defendants and Richard Haddad started a campaign of lies about Plaintiff out of their humiliated

defeat in New York court. Defendant Haddad has contacted at least of one of Plaintiff’s acquaintance

and told this individual that this Court has determined that Plaintiff has violated law by providing

legal service illegally. Plaintiff discovered that Defendants intentionally withheld offering documents

from Plaintiff’s clients prior to inducing them to wire $550,000 to accounts controlled by Defendants

and to pay hefty fees to migration agents for selling securities to them without their consents.

Defendants intentionally failed to inform Plaintiff’s clients in Chinese that they need to consult

licensed securities advisers or provide Chinese translation of the subscription documents because

Chinese investors don’t read English. Defendant misled them to sign, which were only signature

pages of offering documents under disguise as immigration paper work and I-526 petition form

submitted to USCIS. Defendants doctored the executed Subscription Agreement and Operating

Agreement without Plaintiff’s clients’ knowledge. Even the countersigned Subscription Agreement




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and Operating Agreement by Mastroianni were mailed and hidden in Defendant Qiaowai’s office for

several years without Plaintiff’s clients’ knowledge.

235.   Defendants’ EB-5 fund-raising displays all the hallmark signs of EB-5 scams described the

Investor’s Alert issued by SEC and USCIS in the 2013. Defendants were in the business of issuing

securities, marketing securities, and providing investment advice for compensation, all done without

registration with Securities and Exchange Commission in violation of 1933 Investment Act, 1940

Investment Adviser Act, and 1940 Investment Company Act. The investment made by 701 Fund and

702 Fund in 702 Development is investment contracts with 702 Developer instead of purchasing

mortgage or direct interests in real estate under development. The investment contracts are securities

and not qualified assets for 3C5 exemption from registration of 701 Fund and 702 Fund as investment

company. At the time making EB-5 loan, 702 Developers have zero equity in 702 Development when

the existing hotel with $540 million purchase price is used to secure $1.125 billion senior loan with

GOLDMAN SACHS BANK. The sale of US based securities to the general public in China were not

approved by Chinese regulators and without proper disclosure to the Chinese investors. Defendants

retained a securities counsel to draft Private Placement Memorandum with full knowledge that they

need to follow US securities law. Defendants intentionally neglected to verify if they meet the

exemption requirements with SEC and proceeded their activities without proper registration or

notification, including filing Form D with SEC. Under information and belief, Defendants

Mastroianni and Ding conspire with 702 Developer and AYB Developer to convert EB-5 investment

into their piggy bank with no intention to return EB-5 investment to Chinese EB-5 investors, even

though these Chinese EB-5 investors may never see the immigration visas they dream of and have

paid over $550,000 for.




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236.   With consents of Defendants 702 Developer, that is Maefield Development and Fortress

Investment Group, orchestrated the sale of 701 Hotel Project with the intention to transfer EB-5

investment in 701 Fund to finance 702 Development that was unable to secure a construction loan

from JP Morgan for over two years. Ignoring the adverse effects of accepting early repayment on

investors from 701 Fund, Defendants coerced investors into re-investing in 702 Development to

benefit Maefield Development and Fortress Investment Group while taking an instant payout of

$44,661,772.77 on December 12, 2018. Defendants conspire with 702 Developer to made a $494.5

million loan to 702 Developer secured with worthless pledges. The pledgors of EB-5 loan were 702

Developer’s affiliates newly registered on the day of executing EB-5 loan agreement and have zero

equity or assets.

237.   With consents of Defendants Maefield Development and Fortress Investment Group and

Defendants know that they are not registered investment advisors and they intentionally failed to

inform investors of 701 Fund and 702 Fund to seek independent advisor to evaluate investment risk

of re-investment. In addition Defendants filed lawsuit against Plaintiff to silence her as she is the

most vocal critic of Defendants. By sending the “Zoe Letter” to their investors, Defendants continue

to subject their investors to practice of manipulation and coercion.

238.   Even if some of the Defendants did not agree to harm Plaintiff specifically and directly, the

purpose of the acts they engaged in was to advance the overall objective of the conspiracy, and the

harm to Plaintiff was a reasonably foreseeable consequence of Defendants' actions.

239.   Causation and Damages Plaintiff has been injured and continues to be injured in her business

and property by Defendants' conspiracy in violation of 18 U.S.C. § 1962(d) caused by the predicate

acts or damages indirectly caused by the pattern of acts, or both. The unlawful actions of Defendants,




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and each of them, have directly, illegally, and proximately caused and continue to cause injuries to

Plaintiff in its business or property. Sedima, S.P.R.L. v. Imrex Co., 105 S. Ct. 3275 (1985).

240.     Damages The unlawful actions of Defendants, and each of them, have directly, illegally, and

approximately caused and continue to cause injuries to Plaintiff in addition to EB-5 investors. Plaintiff

seeks an award of damages in compensation for, among other things, $50 million in projected loss of

business arising from the malicious prosecution and defamation since October 2018 by Defendants

as well as $120,000 Defendants converted from Plaintiff when Defendants coerced each of her 12

clients to sign Consent Letter in August to December 2018 to give up claims of $50,000 administrative

fee plus $88,000 in interest income on their $500,000 capital investment. Plaintiff further seeks an

award of three times the damages they sustained, and the recovery of reasonable attorneys' fees and

costs of investigation and litigation, as well as any other relief as authorized. Alcorn County v. U.S.

Interstate Supplies, Inc., 731 F. 2d 1160, 1169 (5th Cir. 1984). Hellenic Lines, Ltd. v. O’Hearn, 523

F. Supp. 244 (S.D.N.Y. 1981). Parness v. Heinold Commodities, Inc., 487 F. Supp. 645 (N.D. III.

1980).



                                   THIRD CAUSE OF ACTION
                                       (Malicious Prosecution)
         (Defendants USIF, USIF-NY, 701 Fund, 701 Fund Managers, Richard Haddad)



241.     Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

242.     On or about August 18, 2018 USIF’s in-house counsel Jason Metula contacted Plaintiff and

requested Plaintiff to remove the reference of USIF and Qiaowai from Reviv-East website that

described a member of 702 Fund received $552,000 back from USIF and Qiaowai. Out of courtesy




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Plaintiff took the reference of USIF off but refused to take off the reference of Qiaowai. Reviv-East

is a Hong Kong company that Plaintiff was an independent contractor to conduct due diligence.

243.    On or about August 22, 2018 Plaintiff received a Cease and Desist Letter from the in-house

counsel, Ashley Flucas, of Defendants USIF and 701 Fund even though at the time, Defendants USIF

and 701 Fund were represented by Michael Zuppone of Paul Hastings LP. Plaintiff told Defendants

that they can sue Plaintiff in Chicago, where she lives.

244.    On October 4, 2018 Defendants USIF and 701 Fund filed a lawsuit against Plaintiff, Litowitz

as well Reviv-East in New York Court, not in Illinois court, alleging Litowitz and Plaintiff set up

Reviv-East in 2017 to defraud Defendants USIF and 701 Fund. Defendants possess no evidence that

Plaintiff and Litowitz together established Reviv-East in January 2018.        Defendants possess no

evidence that as many as 70 investors retained Litowitz and worked with Plaintiff to request to

withdraw from 701 Fund between June and September 2018. This lawsuit is an attempt by Defendants

USIF and 701 Fund and Richard Haddad to weaponize the law and use it to silence their critics and

confuse unsophisticated EB-5 investors who are subjects of Defendants’ tyranny. The lawsuit has

been vexatious, frivolous, and improper at every word. Defendants’ fraud and defamation claims rest

upon their failure to do basic fact-finding research, their lack of competence and lack of

professionalism.

245.    On March 29, 2019, Defendants USIF and 701 Fund’s lawsuit against Plaintiff was thrown

out of court by a New York Judge.

246.    Defendants’ malicious prosecution caused injury to Plaintiff.

247..   Defendants conduct was willful, wanton, malicious, and oppressive.

248.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants




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are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                  FOURTH CAUSE OF ACTION
                                             (Defamation)
 (Defendants USIF, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702 Fund Manager,
                           Ding, and Qiaowai entities, Richard Haddad)



249.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

250.    Starting in May 2018, Defendants used “Linda” as an agent to infiltrate Chinese EB-5 WeChat

groups to discredit and defame Plaintiff and to draw Chinese investors away from being represented

by Litowitz and by such act, Defendant recruited about 40 clients for USIF’s former securities counsel,

Ronnald Fieldstone.

251.    In February 2019, Defendants USIF and 702 Fund Manager used the New York Lawsuit to

legalize their slanderous statement against Plaintiff and deter investors from using Plaintiff’s fraud

analysis service. Plaintiff was informed that investors are reluctant to contact Plaintiff for service.

252.    Defendant Mastroianni publicly defamed Plaintiff and called her “ambulance chaser” when

reporter interviewed him in relation to Plaintiff’s defense in the New York Lawsuit.

253.    After the New York Court threw out the frivolous and malicious lawsuit filed by Defendants

USIF and 701 Fund, Defendants USIF and 701 Fund and Richard Haddad started a campaign of lies

about Plaintiff out of their humiliated defeat. Defendant Haddad has contacted at least of one of

Plaintiff’s acquaintance and told this individual that this Court has determined that Plaintiff has

violated law by providing legal service.




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254.    Defendants’ defamation caused injury to Plaintiff.

255.    Defendants conduct was willful, wanton, malicious, and oppressive.

256.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                  FOURTH CAUSE OF ACTION
                                              (Collusion)
 (Defendants USIF, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702 Fund Manager,
                 AYBII Fund, AYBII Fund Manager, Ding, and Qiaowai entities)



257.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

258.    Defendants’ EB-5 fund-raising displays all the hallmark signs of EB-5 scams described the

Investor’s Alert issued by SEC and USCIS in the 2013.

259.    Defendants Mastroianni and Ding are fully aware that, due to their misrepresentation, Chinese

investors are entitled to rescission rights that Chinese investors will receive $500,000 capital

contribution, $49,000 to $52,000, interests, and other costs. On such belief, Defendants Mastroianni

and Ding returned $552, 000 to one member of 702 Fund in December 2017.

260.    Under information and belief, in June and July 2018, Defendants Mastroianni and Ding

colluded with USIF former securities counsel Fieldstone and devised a scheme to deny exiting

members of 701 Fund the return of their full investment plus 3.5 years’ interest income.

261.    Under information and belief most of $50,000 administrative fee and half of 3.5 years of

income were diverted into the possession by Defendants Ding as transaction-based fee for placing


                                                                                                       86
investors in 701 Fund in 2015 and so-called investment advisory fee to investors for 3.5 years. As

Litowitz and Plaintiff were contracted to receive compensation primarily based on return of the

$50,000 administrative fee and 3.5 years of income, Plaintiff lost about $120,000 in service fee as

result of conversion by Defendants Mastroianni and Ding.

262.    Plaintiff are contracted to receive $10,000 from $50,000 administrative fee that exiting

investors are entitled to receive from exercising their right to rescission, such possessions and effects

which were stolen and, or, converted by Defendants who intended to permanently deprive Plaintiff

of said property.

263.    Defendants conduct was willful, wanton, malicious, and oppressive.

264.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                  FOURTH CAUSE OF ACTION
                                             (Conversion)
 (Defendants USIF, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702 Fund Manager,
                 AYBII Fund, AYBII Fund Manager, Ding, and Qiaowai entities)



265.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

267.    Defendants’ EB-5 fund-raising displays all the hallmark signs of EB-5 scams described the

Investor’s Alert issued by SEC and USCIS in the 2013.

268.    Defendants Mastroianni and Ding are fully aware that, due to their misrepresentation, Chinese

investors are entitled to rescission rights that Chinese investors will receive $500,000 capital


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contribution, $49,000 to $52,000, interests, and other costs. On such belief, Defendants Mastroianni

and Ding returned $552, 000 to one member of 702 Fund in December 2017.

269.   Under information and belief, in June and July 2018, Defendants Mastroianni and Ding

colluded with USIF former securities counsel Fieldstone and devised a scheme to subotage Litowtiz’s

planned legal action for right of rescission and deny exiting members of 701 Fund the return of their

full investment plus 3.5 years’ interest income.

270.   Under information and belief, in June and July 2018, Defendants Mastroianni and Ding,

through an agent name “Linda”, recruited about 40 clients for Fieldstone to carry out Defendants’

vicious plan.

271.   As the result of collusion between Defendants USIF and Fieldstone to fix the withdrawal

procedures and amount of return, exiting members of 701 Fund was coerced to accept return of

$500,000 capital and signed a release to discharge Defendants USIF, 701 Fund and 701 Manager

from future claims.

272.   Under information and belief most of $50,000 administrative fee and half of 3.5 years of

income were diverted into the possession by Defendants Ding as transaction-based fee for placing

investors in 701 Fund in 2015 and so-called investment advisory fee to investors for 3.5 years. As

Litowitz and Plaintiff were contracted to receive compensation primarily based on return of the

$50,000 administrative fee and 3.5 years of income, Plaintiff lost about $120,000 in service fee as

result of conversion by Defendants Mastroianni and Ding.

273.   Plaintiff are contracted to receive $10,000 from $50,000 administrative fee that exiting

investors are entitled to receive from exercising their right to rescission, such possessions and effects

which were stolen and, or, converted by Defendants who intended to permanently deprive Plaintiff

of said property.




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274.    Defendants conduct was willful, wanton, malicious, and oppressive.

275.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                    FIFTH CAUSE OF ACTION
                                             (Conversion)
 (Defendants USIF, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702 Fund Manager,
                 AYBII Fund, AYBII Fund Manager, Ding, and Qiaowai entities)



276.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

277.    Defendants’ EB-5 fund-raising displays all the hallmark signs of EB-5 scams described the

Investor’s Alert issued by SEC and USCIS in the 2013.

278.    Defendants Mastroianni and Ding are fully aware that, due to their misrepresentation, Chinese

investors are entitled to rescission rights that Chinese investors will receive $500,000 capital

contribution, $49,000 to $52,000, interests, and other costs. On such belief, Defendants Mastroianni

and Ding returned $552, 000 to one member of 702 Fund in December 2017.

279.    Under information and belief, in June and July 2018, Defendants Mastroianni and Ding

colluded with USIF former securities counsel Fieldstone and devised a scheme to sabotage Litowtiz’s

planned legal action for right of rescission and deny exiting members of 701 Fund the return of their

full investment plus 3.5 years’ interest income.




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280.   Under information and belief, in June and July 2018, Defendants Mastroianni and Ding,

through an agent name “Linda”, recruited about 40 clients for Fieldstone to carry out Defendants’

vicious plan.

281.   As the result of collusion between Defendants USIF and Fieldstone to fix the withdrawal

procedures and amount of return, exiting members of 701 Fund was coerced to accept return of

$500,000 capital and signed a release to discharge Defendants USIF, 701 Fund and 701 Fund manager

from future claims.

282.   Under information and belief most of $50,000 administrative fee and half of 3.5 years of

income were diverted into the possession by Defendants Ding as transaction-based fee for placing

investors in 701 Fund in 2015 and so-called investment advisory fee to investors for 3.5 years. As

Litowitz and Plaintiff were contracted to receive compensation primarily based on return of the

$50,000 administrative fee and 3.5 years of income, Plaintiff lost about $120,000 in service fee as

result of conversion by Defendants Mastroianni and Ding.

283.   Plaintiff are contracted to receive $10,000 from $50,000 administrative fee that exiting

investors are entitled to receive from exercising their right to rescission, such possessions and effects

which were stolen and, or, converted by Defendants who intended to permanently deprive Plaintiff

of said property.

284.   Defendants conduct was willful, wanton, malicious, and oppressive.

285.   Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                      SIX CAUSE OF ACTION


                                                                                                       90
                          (Tortious Interference with a Business Relationship)
  (Defendants USIF, Mastroianni, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702
                              Fund Managers Ding and Qiaowai entities)



286.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

287.     Plaintiff has business relationship with members of 701 Fund and members of 702 Fund.

288.    Defendants know of that relationship and Defendants, individually and in collusion with one

another, and with knowledge, by engaging in the conduct described above, directly or indirectly,

interfered with that relationship.

289.     Defendants individually and in collusion with one another, and with knowledge, by engaging

in the conduct described above, directly or indirectly, acted solely out of malice and coercion, and/or

improper means that amounted to a crime or independent tort.

290.    Defendants’ interference caused injury to the relationship with her clients.

291.    Defendants conduct was willful, wanton, malicious, and oppressive.

292.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



                                     SEVEN CAUSE OF ACTION
       (Civil Conspiracy of Intentional Interference with Prospective Economic Relations)
  (Defendants USIF, Mastroianni, USIF-NY, 701 Fund, 701 Fund Managers, 702 Fund, 702
                              Fund Managers Ding and Qiaowai entities)




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293.    Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

fully set forth herein.

294.    Plaintiff has been an advocate for Chinese EB-5 investors’ rights under the protection of US

securities laws. Plaintiff provides fraud analysis of EB-5 investment. Plaintiff is well known in the

EB-5 investor community as a dedicated and knowledgeable EB-5 professional. Plaintiff’s WeChat

messages have inspired hundreds of Chinese EB-5 investors to protect their rights under US securities

laws. Due to this international exposure, Plaintiff has many ongoing and pending business and

economic relationships with existing and potential clients within Chinese EB-5 investor community

who have contributed over $20 billion to the EB-5 immigrant investor program, which will, in all

probability, lead to future economic benefits if not, for Defendants’ wrongful acts.

295.    Plaintiff is informed and believe and based thereon allege that Defendants had full knowledge

of Plaintiff's international exposure, and the aforementioned existing and potential business and

economic relationships.

296.    Plaintiff is informed and believe and based thereon allege that because Defendants had full

knowledge that Plaintiff operates on an international scale, Defendants knew of the existence of the

current and prospective business relationships between Plaintiff and their current or potential clients

from China and the United States.

297.    Defendants deliberately, willfully, wrongfully and intentionally interfered with Plaintiff's

right to transact business with, and derive business income from, her existing and potential

relationships with third parties by sending “Zoe Letter” to her clients, and coercing existing and

potential clients to refrain from entering into a business relationship with Plaintiff due to concerns of

unprofessionalism, unethical conducts, and incompetence. Defendants knew that by sending “Zoe




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Letter”, it will damage Plaintiff’s reputation and good will, and the interference with Plaintiff’s

business and economic relationships was certain or substantially certain to occur.

298. Each Defendant committed at least one overt act in furtherance of such conspiracy including

coercing existing and potential EB-5 clients to refrain from entering into a business relationship with

Plaintiff.

299.     Each Defendant acted with the common intent to defraud Plaintiff and understood that all

other Defendants shared in that common purpose.

300.     Defendants’ conduct was willful, wanton, malicious, and oppressive with intention to damage

Plaintiffs' reputation and to promote their own business interests at the expense of Plaintiffs. As a

result, Plaintiffs are entitled to punitive and exemplary damage.

301.    Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct Defendants

are liable to Plaintiff in an amount to be determined at trial. Further, Plaintiff seeks the imposition of

punitive damages sufficient to deter Defendants from committing such unlawful conduct in the future.



PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court:

I. Award in excess of $50.12 million in compensatory damages, consequential, exemplary and

punitive damages, not including the trebled damages for the RICO causes of action, against

Defendants, each and every one of them jointly and severally.

II. Enjoin permanently Defendants from interfering business relations between Plaintiff and her

clients in their request seeking return of their EB-5 investment in full and with interests.




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III. Award attorneys' fees and other litigation costs reasonably incurred in this action pursuant to the

Racketeer Influenced and Corrupt Organizations Act.

IV. Any other relief the Court deems just and proper.



JURY DEMAND



Plaintiff respectfully demands a jury trial on all issues so triable.


Dated: April 17, 2019
                                                        Respectfully Submitted,

                                                      __________/s/ Xuejun Makhsous____

                                                      XUEJUN MAKHSOUS, Plaintiff, pro se

                                                      P. O. BOX 2651, GLENVIEW, IL 60025




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